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                          Exhibit 26
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                        Cornell University
                        Division of Human Resources



Appendix C Table of Contents:

     1. The Complainant's Response to the Draft Investigative Report, with cover email,
        submitted September 18, 2015

     2. The Respondent's Response to the Draft Investigative Report, with attached Exhibits,
        submitted September 21, 2015




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      1. The Complainant's Response to the Draft Investigative Report, with cover email,
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Sarah B. Affel

From:                                     lizkarns@gmail.com on behalf of M. Elizabeth Karns <karns@cornell.edu>
Sent:                                     Friday, September 18, 2015 10:07 AM
To:                                       Sarah B. Affel; Alan L. Mittman;             ;
Subject:                                  Replaced Letter -- Response to Investigation
Attachments:                              LA impact statement and request letter.pdf



Dear Sarah-- Please find attached the letter in response to the investigation of LA v MV. The letter summarizes the impacts and the requests
for specific actions.

In the event there is a voluntary severance prior to the conclusion of this matter these requests need to be part of that negotiation.

Sincerely,




M. Elizabeth Karns, MPH JD
Dept of Social Statistics
Cornell University
296 Ives Faculty Building
607-255-4572




                                                                         1
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    September 18, 2015

    Dean Gretchen Ritter
    College of Arts and Sciences
    Cornell University
    Ithaca NY 14853

    Dear Dean Ritter:

    In my capacity as Procedural Advocate for Complainants, appointed by the
    President's Office, I am writing on behalf of LA, a graduate student in the
    Department of Physics, College of Arts and Sciences, Cornell University. As you
    know, her former advisor MV has been found to have violated University policy on
    romantic and sexual relationships between students and staff ~scribed in the
    Faculty Handbook on page 124. I am writing to summarize~ s that this
    violation has caused to LA, and to convey her specific r~ue s           ·ons by the

                                                             Ill..'
    University. The requests must form part of any agree~ Ee tation of MV' s
    voluntary or involuntary severance.

    The numerous problems and conflicts that LA ha.O::nced directly due to her
    relationship with MV amply illustrate why t~~~;has a policy regarding
    romantic and sexual relationships. MV~ i policy, and exploited the power
    difference between himself and a grad          for his personal needs. This
    action by a Cornell faculty memb~us and continues to cause, harm to the
    graduate student, LA.

    Like many abusers, MV groo~, lled and isolated LA. He was in a position to
    do this as her academics· e tor, and lab director. He controlled her work
    environment, and he us ou u ts of his volatile temper to control her behavior at
    work. He contra        er       . ional environment as her advisor- setting the
    conditions unde which e was to achieve specific milestones along with complying
    with his sexual e    eta ns. He controlled her personal time through the required
    hours in the lab an       e with him outside of the lab. And he attempted to control
    her disclosure of the relationship to others by telling her that it would ruin her
    career.

    There is ample evidence in the report and appendices to support the finding of a
    violation of the policy. However, there is little information about the on-going harm
    that LA has experienced. The harms to LA due to the violation of this policy can be
    broadly summarized in three areas: educational, professional and health impacts.

    Educational Impact
    The educational impact has been apparent throughout the relationship and the
    subsequent investigation. LA is continuing to progress through her program, but the
    violations of policy have impeded her progress and deprived her of the support that
    students are owed from their department.


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    Due to the abuse, it became clear that LA should seek another physical location to
    complete her research. Therefore, four and a half years into her graduate education
    at Cornell, she had to find another facility with the capacity to do her specific work
    on cold atoms. She found a lab at the JQI, a collaboration between NIST and the
    University of Maryland, which would allow her workspace and supervision.
    However, this lab is 6 hours from Ithaca. She continues to be a Cornell graduate
    student, but student support services such as counseling, healthcare, or security
    services, as well as the support and camaraderie of her fellow graduate students, are
    practically unavailable to her.

    During this time LA has found her ability to focus and concentrate on research
    severely disrupted. The numerous disruptions due to the investigation, in particular
    the need to document events that MV falsely denied and the p~ged questioning
    from professional colleagues, have made normal progress t~ PhD extremely
    difficult. At this point LA is approximately two years beiin e        ed schedule
    for graduation.                                        ~

    Professional Impact
    MV has intentionaiiy damaged LA's professional
    clear in the evidence. His refusal to disclose
    and afterwards led to conclusions by le
    (see Schwab and Ralph statements ; hi
                                                 r
                                                   ~

                                                           !a
                                                   elo ent and reputation, as is
                                                      nship while it was on-going
                                                   ield regarding LA's behavior
                                                   ent of her abilities has led to an

    her professional field such as            Gr   e            eli and Swati Singh.

    LA has been prevented from~e  ·    rofessional conferences because of fears of
    being harassed by MV. ~ ed 0 attend DAMOP Oune z'(hS) when she knew
    he wou~d be there. She ans a end the next meeting only when accompanied by
    a secunty atten~

    The impact of M .vio ons of policy has followed LA to her present institution.
    Because of the on-go g harassment by MV, she has had to explain numerous times
    that there is an investigation, that she cannot speak about the investigation, and that
    she needs to be away from the Ithaca campus. This is a significant distraction from
    LA's activities as a professional physicist, and from her development of a
    professional reputation- she has to use up the small amount of social capital that
    she has with her new colleagues to mitigate the on-going damage by MV rather than
    advancing her own professional career.

    Most recently, this came up when the organizers of a speaker series at the JQI
    contacted MV as a potential speaker for early October 2015. MV accepted the offer
    within hours of the request without disclosing that he was forbidden to be at the
    research facility while LA was there. Again, LA had to approach her professional
    colleagues and, for her own safety, explain that he was prohibited from visiting the
    institute while she was present because of the on-going investigation.


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    In the last month, just when LA had an article accepted to Science, one of the most
    prestigious journals in her field, she had to take time during regular working hours
    to seek an order that would keep MV away from her current workplace at UMD. She
    had to spend a day at a Maryland county courthouse and another half day with UMD
    Title IX representatives. Time when she should have been focused on responding to
    comments on the article or developing new research plans was diverted to dealing
    with the continued harassment by MV.

    MV attempted to retract the authorship of LA on a publication. When he was not
    allowed to do that he has persistently refused to present LA name in the same
    format as all other authors. His refusal to correct the presentation on all forms is


                                                                    til'
    another form of professional harassment.

    Health Impact
    Unsurprisingly, the abuse and harassment by MV have !lad           ~~on LA's health.
    While he was refusing to let her publicly disclose the~~ i er health
    deteriorated so far that her family became extremely ~~ . Her parents, both
    physicians, recognized the damage this was causi~ alth. They have had to
    take time off to support LA during the identificatf an · vestigation of the abusive
    relationship.                                  (':>:
    She has suffered anxiety, high blood pr        ~eigh-loss due to the abusive
    relationship. s:tJ.e had to seek a pr:      tes      ecause of a condom failure and a late
    period. MV's refusal to get teste                  to unnecessary concern over her own
    disease status.

    Re uest for AlcknoWe
    LA requests acknowled en            e finding of the violation of Cornell policy to be
    expressed in t h e e ·          s:
       1. Letter fo uture · players that explains the delay in educational progress,
           and sum      'ze .e investigation and finding of MV's violation of Cornell
           policy.
       2. Direction to the Graduate School and to the DGS of Physics that LA should be
           given an additional two years to complete her degree without penalty.
       3. Letter or email to each witness involved in the investigation, notifying them
           that MV was found in violation of the policy. This is particularly important for
           the professional reputation of LA- at this time many have been left with only
           the distorted information MV has given them about the case.
       4. Letter to the Cornell Physics Department members regarding the outcome of
           the case. This is necessary because of the comments made by MV after the
           relationship was reported. MV has stated that LA made "baseless"
           harassment claims, and he has denigrated her abilities as a scientist.
        5. Clear limitations on MV's presence at conferences that LA is planning to
           attend. While MV is an employee of Cornell or associated with any Cornell
           projects or funding, his planned professional activities should be reviewed to


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             identify potential conflicts with LA MV should notify his supervisor in the
             department who can communicate with LA on scheduling.
          6. Representation of LA's work on all articles, websites, and other materials
             that is identical in form to other contributors. No alterations of her name,
             spacing, or abbreviations should be permitted. MV has not yet complied with
             this request.

     Again, the requests must form part of any agreement or negotiation of MV's
     voluntary or involuntary severance. Please feel free to contact me if you have any
     questions.

     Sincerely,

     jsj M. Elizabeth Klrns MPH JD
     Procedural Advocate for the Complainant
     Dept. of Social Statistics
     ILR School, Cornell University




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                                                                  September 21, 2015



         VIA ELECTRONIC MAIL




                                                               ·~
         Alan L. Mittman
         Director
         Cornell University Division of Human Resources
         Office of Workforce Policy & Labor Relations




                                                               ~
         391 Pine Tree Road
         Ithaca, NY 14850-2820
         Alm63@cornell.edu

         Sarah B. Affel
         University Lead Investigator
                                                  ~f'>
                                                    V ~
         Cornell University Division o~fa es ces
         Office of Workforce Policy &   k,~ · s
         391 Pine Tree Road             ..... '
         Ithaca, NY 14850-2820 ~
         sba49@cornell.edu         ~ ..-



         Re: Professo'CJOgaJattore


Dear Mr. Mittman and Ms. Affel,

        This Firm represents Professor Mukund Vengalattore and we submit this letter in
response to the draft report dated August 20, 2015 ("Report") setting forth the initial findings of
an investigation conducted by Cornell University's ("Cornell" or the "University") Division of
Human Resources ("Division") into an alleged romantic or sexual relationship in violation of
University policy between Dr. Vengalattore and                    , a graduate student who worked
in Dr. Vengalattore's lab between 2009 and 2012. The Division has granted us this opportunity
to provide comments and observations regarding the Report's analysis and conclusions prior to
the Division finalizing the Report and transmitting it to Dean Ritter. We have carefully and
closely reviewed the Report and the evidence that it cites. For the reasons we detail below, we
respectfully submit that the Report's finding, that a preponderance of credible evidence supports
the conclusion of a romantic or sexual relationship, is without a factual basis. In reaching its


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findings, the Report does not draw reasonable inferences based on all of the credible facts and
circumstances and instead, mistakenly construes facts in the light least favorable to Dr.
V engalattore. In many instances, and as documented in detail herein, the Report does not reflect
that the Division followed up on important, readily-verifiable information casting grave doubt on
Ms.             credibility, both generally and in respect of specific accusations she has leveled
against Dr. Vengalattore. Accordingly, and without waiver of Dr. Vengalattore's rights,
remedies, claims, and defenses, prior to the Division finalizing and forwarding its Report to
Dean Ritter, we respectfully request that the Report's conclusion be changed to state that there is
not a preponderance of credible evidence supporting the existence of a romantic or sexual
relationship. Furthermore, because the allegations Ms.              has leveled against Dr.
Vengalattore are false and highly prejudicial, and because the Report as currently drafted, credits
those allegations, we respectfully request that: (1) the Division agree to meet with us in advance
of finalizing its Report; (2) the Division provide us with any amended draft Report before it is
sent to the Dean, and provide us an opportunity to transmit any additi~comments or
observations on such amended draft Report; and (3) include a copy oftli' etter when
transmitting any final Report to the Dean. 1                     + ~
                                              INTRODUCTION    ~        v
        The draft Report fails to identify sufficient evide~ antic or sexual relationship
between Ms.            and Dr. Vengalattore to satisfy the       lie le preponderance of evidence
          2
standard. Despite numerous interviews ofwitnesl/; d by Ms.                           the Report does

                                              In4ee~d.
not identify one person that actually witnesse        .     g ttore acting romantically or
inappropriately towards Ms.                                  confirm that Dr. Vengalattore treated
Ms.           similarly to his other gra if<~nt            ring the alleged romantic relationship.
Despite unfettered access to Dr. Venga o . e ails and text messages, the Report does not
identify any such communications i · · te           r. V engalattore acknowledging or suggesting the

Vengalattore never discusses or sexual feelings toward Ms.                  and the two never
discussed dates or roma ·c   ns B te tor email. The Report, however, fails to acknowledge
that the absence of s  entic    · ence weighs heavily against a finding that Dr. Vengalattore
had a romantic relati ship   h Ms.

       Further, the inves ation has also uncovered, but has failed to address, ample evidence of
multiple falsehoods, inconsistencies and exaggerations in the various accounts offered by Ms.
         each posing serious questions about her credibility. Both individually and together,


1
  The Division has indicated in prior emails to the undersigned that this letter will be included in
the final Report's Appendix. Given this letter's length, the gravity of the charges against our
client, and the Report's overall length, we respectfully request that the Division specifically
direct the Dean's attention to our letter in its transmittal correspondence.

2
  As set forth in the reservation of rights in this letter, infra, we do not concede that a
preponderance of evidence standard is procedurally appropriate due process wise for the
allegations at issue, but we have nevertheless evaluated the Report, and present our comments
under that standard.
                                                     2

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these oversights - respectfully - render the Report fatally flawed and requiring amendment,
including reversing its current conclusion.

        The objective evidence uncovered by the Division supports Dr. Vengalattore's account of
his interactions with Ms.          and contradicts her fabrications. To summarize Ms.
proffered narrative, she accuses Dr. Vengalattore of raping her in December 2010. She then
claims to have subsequently entered into a relationship with him, through which Dr.
Vengalattore abused his power as her professor to coerce her to have sex with him. Ms.
further alleges that Dr. Vengalattore verbally abused her while she was working in his laboratory
("lab"), and claims to have finally ended the sexual relationship in December 2011. Upon
allegedly breaking up with Dr. Vengalattore, Ms.              claims he "sidelined" her by giving her
menial tasks in the lab. Ms.            further claims that Dr. Vengalattore continued to act
abusively toward her in 2012 and, as a result, she supposedly had no choice other than to quit
working in our client's lab in the fall of2012.                          '-

         In reality, and as the evidence demonstrates, there was no ri$,~~ationship between
Ms.
were platonically friendly as they worked side-by-side in
other outside the lab when they could. When Ms.
                                                           'all
               and Dr. Vengalattore. Instead, the evidence at m•t r e           t the two parties
                                                                              'slab and helped each
                                                              tr Ll..e~r. Vengalattore agreed to
take care of her cat. Dr. Vengalattore would walk Ms.                    on nights that she stayed
late in the lab. Because Dr. Vengalattore could not driv , s.             would, on occasion, offer
to drive him to buy groceries or perform other errart.       c ionally, they would eat meals
together, usually with other members of Dr.         a or lab. Taken both individually and
collectively, this evidence neither directl or· e 11         suggests anything beyond a sociable
student-teacher relationship, that featu     ~e1         rtesies between both parties to manage
out-of-class responsibilities in the face    e ·     ofessional and academic schedules. Dr.
Vengalattore has previously testifie       t   co sidered Ms.           a "friend," and the evidence

Vengalattore strove to maint~~ her graduate and undergraduate students (male and
female) whom he worke wi~pervised.

        By the summ of 20 ~ , despite their friendly dealings with each other, it became
apparent that Ms.          w     aving significant difficulties performing tasks that a graduate
student with commensura experience should have been able to perform. Dr. Vengalattore and
other graduate students were forced to spend excessive time assisting Ms.             when she
should have been working independently. Ms.               became increasingly aware of her poor
performance in the lab and grew uncomfortable about her ability to lead experiments. Yet,
despite Ms.           difficulties in the lab in 2012, Dr. Vengalattore remained sociable with
Ms.          while maintaining his professional objectivity regarding her academic struggles.
Ultimately, however, Ms.            decided to leave Dr. Vengalattore's lab after it became clear
she was not making sufficient progress in her lab work.

        As noted above, Ms.           has accused Dr. Vengalattore of having raped her.
Although the Report acknowledges that University action on that accusation is time-barred under
University policies, the mere inclusion of this highly inflammatory yet completely unsupported
allegation reflects on both the Report's serious flaws and Ms.           credibility. The
evidence clearly reveals Dr. Vengalattore did not rape Ms.

                                                  3

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    •    First, lab and phone records are inconsistent with Ms.               ever-changing testimony
         regarding the timeline surrounding the alleged rape.

    •    Second, email and text communications from Ms.               to Dr. V engalattore maintain a
         friendly tone after the alleged rape, never referencing or alluding to a rape or anything
         even close to such a horrific charge.

    •    Third, Ms.               continued her working relationship with Dr. Vengalattore after the
         alleged rape.

    •    Fourth, Ms.           told no one about the alleged rape until 20 15, when she leveled rape
         allegations with the express intention of derailing Dr. Vengalattore's tenure prospects.

Thus, Ms.              rape allegations, manufactured four years after t
entirely unsubstantiated and contradicted by objective evidence. Unfo    ately, the Report, as
currently drafted, fails to clearly and objectively address the incred~· s.               rape
allegations. That absence is deeply problematic not merely betaus o       tain it otherwise
leaves on Dr. Vengalattore's reputation, but because these    f~ ·               sshould have led the
R"port ;u:::::,r::::ti:::::::::::t:::o en                                     : ::~::::~galattore
coerced her into having sex after the alleged ra e. ~~., e':ails and texts between Dr.
Vengalattore only document a friendly relatio      ip         n the parties. Regrettably, the Report
seizes upon a handful of emails read in isolaf        u    almost 1,000 communications- in
which Ms.            adopts an overly fi ~·             h Dr. Vengalattore. Plainly, our client
could not control what Ms.           ch     t         o him, but the record is clear that Dr.
V engalattore never reciprocated in            i act, sometimes civilly chastised Ms.
after he correctly perceived that               communications were inappropriate. Importantly
(but not carefully addressed in         ortJ many of the emails identified by the Division either
pre-date the alleged start oft        ·o ship (December 2010) or were written after the alleged
relationship ended (D e1 e            . Thus, Ms.              overly familiar emails do not
correlate to the dates f the al ged sexual relationship, and do not indicate a relationship
beginning in Decemb        01 0 d ending in December 20 11. Instead, the emails are, at best,
plainly consistent with . engalattore's testimony that the two had a friendly and civil student-
teacher relationship between 2009 and 2012.

         There is also no credible evidence that Dr. Vengalattore "sidelined" Ms.             after she
allegedly broke up with him. To the contrary, the relevant email evidence and the witness
testimonies from Dr. Sundar (App. A at 81), Mr. Patil (App. A at 90) and Mr. Reynolds (App. A
at 167) clearly point out that Ms.           was not "sidelined" or assigned "menial tasks." .In
fact, lab records demonstrate that Ms.            routinely struggled to complete her tasks in the
lab. The lab records also clearly demonstrate that there was no change in Ms.
scientific responsibilities, and that Prof. V engalattore and the rest of the group went to inordinate
lengths to help Ms.            make progress on her research work.

         It is important to note that, other than the alleged rape in mid-December 2010, Ms.
          alleges only two other specific instances where the two supposedly had sex: on

                                                       4

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December 30, 2010 and in Arizona on trip to the Biosphere. Ms.                has not provided any
details of the alleged December 30, 2010 sexual encounter. Review of the Report does not
indicate whether the Division pressed Ms.            to give specific details about this alleged
second encounter, what (if any) reason she provided for not giving them, and how the absence of
such details impacted the Division's assessment of her accusation. If Ms.              does provide
such details about the timing of this alleged sexual encounter, Dr. Vengalattore is prepared to
search through lab and other records that may disprove Ms.               allegations.

        With respect to the third alleged encounter, Ms.          alleges that she had sex with Dr.
Vengalattore in a room located in the Biosphere in Arizona when the two attended a conference
there. However, this allegation cannot be credited because the record is clear that the two parties
went to the Biosphere in 2012, after Ms.           alleges the sexual relationship ended. 3 Such
internal contradictions in Ms.            testimony significantly impair her credibility.
Respectfully, by extension, these contradictions also undermine the cr. ibility and strength of
the entire Report, especially because, as noted above, the Report does n      learly address their
impact on the Division's analysis. Moreover, Ms.             has cla1!!a e possesses
"several emails and texts alluding to her getting together with t>~ a ore," (App. A at 102)
but has not produced any of these. Her failure to do so is u~~               en that, in truth, no
such relationship existed.                                   '-..~

         It is unclear when Ms.          first began to fab ~ails         of a romantic relationship.
If the testimony of her friend, Rachel Mathis, and      rlt~ ~:dited,       it was in 2011 when Ms.
          first privately discussed with Ms. Mat 11 u           sed romantic relationship with Dr.
Vengalattore. In these conversations, thie "Wr81 ssion of rape or sexual assault. Indeed,
Ms. Mathis did not testify that she bel~e~·01 hat Ms.                      was in a sexual
relationship with Dr. Vengalattore. D            ·     e period, Ms.           may have embellished
her relationship with Dr. Vengalatto       ec e e had romantic feeling towards him or just
wanted to make her time at Come ee             o e interesting. Regardless of her motivations, this
rank hearsay evidence fails t e standard; it cannot seriously be argued that Ms.
             statements to r fi nd        1ster proves it is more likely than not that a relationship
existed given the gla · g a se         any evidence corroborating her tale.

        Ms.               sea gations became more malignant in September 2014. By that time,
Dr. Vengalattore had lea       that Ms.         had falsely alleged in a tenure review letter that he
threw a power supply at her and was generally abusive to his students. Ms.            knew that it
was unlikely that Dr. Vengalattore would write her a positive review, seriously jeopardizing her
chances of obtaining her Ph.D. When Dr. Vengalattore's department voted to grant him tenure,
Ms.           believed that she needed a way to explain why she could not obtain a positive
review from Dr. Vengalattore. It was at this time that Ms.           apparently decided to
fabricate claims of rape and sexual abuse.

         After Ms.          made her allegations of sexual abuse, Dr. Vengalattore' s tenure was
denied by the Dean. In this context, we have particular concerns regarding the Report's failure
to carefully scrutinize the timing of Ms.           allegations in connection with her earlier
effort to sabotage his tenure review. Our concern is acute in these regards because while all of

3
    Attached hereto as Exhibit A is a receipt establishing that the Biosphere trip occurred in 2012.
                                                    5

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Ms.             false accusations are troubling, this subset of allegations falsely paint Dr.
Vengalattore as a manipulative, dangerous man, a depiction that unfairly burdens our client's
professional and personal reputation. Respectfully, review of the affirmative evidence and the
evidentiary gaps should result in an amended Report that not only concludes that no credible
evidence demonstrates violation of University policy by Dr. Vengalattore, but also
communicates that it is more likely than not that Ms.             has attempted to destroy our
client's career and reputation, and apparently has no moral qualms about leveling false rape
charges to achieve that end.

        For all these reasons, which are discussed in greater detail below, we respectfully request
that the Division amend the draft Report's conclusions, and state that no credible evidence
demonstrates a violation of University Policy by Dr. Vengalattore. As noted above, we request
that the Division provide us a copy of its amended draft Report prior to transmitting said Report
to the Dean, and further agree to meet with us in advance of transmitt~s final Report.

                                              BACKGROUND            ~~
        In January 2009, Dr. Vengalattore joined Cornell    as~·
                                                              ~Uartment               faculty
member. He is an atomic physicist specializing in ultracold        i!_i~sses. Prior to joining
Cornell's faculty, he obtained his doctorate from the M~a                stitute of Technology, and
completed a post-doctoral stint at the University of Cali     ia- rkeley with Professor Dan
Stamper-Kurn. At the time he arrived at the Unive~ ell did not have an ultracold atomic
gas program and thus, did not have students~ 1e e in ultracold atomic gasses. Upon
starting at Cornell, Dr. Vengalattore began b ·       1    Clibly complex systems to run
experiments, applying for grant mone)i        r    it    and training students who did not have
experience in ultracold atomic gasses.     .          tore worked extremely long hours,

"all-nighters."

         By 2012, Dr. Vengal~ uilt two labs: one studying a new form of atomic matter
("M1 ")and another e        i~~e of cold atomic gasses as sensors ("M2"). 4 Ms.
came to Cornell in ' ust 20 as a Physics Department Ph.D. candidate. She joined Dr.
Vengalattore's labs i   rly      9, when she was serving as a teaching assistant at Cornell. In the
summer of2009, Dr. Ve        attore began funding Ms.           when she began working in his
lab full time. Ms.          however, worked far shorter hours than Dr. Vengalattore. Typically,
she would arrive to work no earlier than 9:00-10:00 a.m. and leave at 5-6 p.m.

        In 2009 and 201 0, Ms.          assisted Dr. Vengalattore with building the systems
related to M1. To perform experiments on ultracold atoms, a lab must spend years building
systems to run the experiments. In early March 2010, Srivatsan Chakram Sundar, another
graduate student, joined the lab and also worked on M1. During that same time period, Dr.
Vengalattore was also working with undergraduate students to build the systems for M2. Dr.
Vengalattore hoped that by the summer of2010, Mr. Sundar and Ms.               would be able to
work on M1 independently, while he focused his efforts on M2. Unfortunately, that did not

4
  Parenthetically, by the end of2013, Dr. Vengalattore's group had built a third lab ("M4"). This
is relevant because it further reveals the long hours our client devoted to his research and work.
                                                    6

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happen and Dr. Vengalattore spent his days working on M 1 and his nights working on M2. In
the summer of 2011, Dr. Vengalattore hired two more graduate students, Collin Reynolds and
Yogesh Patel, both of whom worked primarily on M2.

       By all accounts in 2011, although the hours were long, the labs made significant progress.
On September 30, 2011, Ms.           submitted a glowing review of Dr. Vengalattore stating that
Dr. Vengalattore was patient and helped students, including herself, when they were stuck on a
problem. Ms.          stated:

         Dr. Mukund Vengalattore is an amazing advisor, teacher and mentor.
         . . . . When we are stuck, he takes the opportunity not just for us to learn from our
         mistakes, but also to learn some interesting physics along the way. A good
         example·of this is my installing of some Insulated Gate Bipolar Transistors
         (IGBTs) this summer. The company provides driver circuit ki~nd          when they
         work, they work fine, but they are not very robust. I got very         ated because
         something that should have taken not that long was takingli£ ause of the
         inconsistent behavior while debugging. Instead ofbec($mi                ted with me,
         Dr. Vengalattore encouraged me to design my own~.. · nd to make a
         group meeting presentation on what IGBTs and~he           ll£:~ encountered.
App. Bat 522-23. While Ms.             now attempts to   wn is statement by claiming that
she was "in love" and "naive," (App. A at 34), t h e g J ts are entirely consistent with other
student reviews of Dr. Vengalattore in this s~ti e d. 5 It is a reasonable inference,
therefore, that Ms.        made these state        e · e Dr. Vengalattore truly was (and
remains) a good mentor to his student~n~bee se she was in a relationship with Dr.
Vengalattore.                            ~~

        In 2012, however, Dr. Ve~e ew increasingly frustrated with Ms.
inability to conduct Ml expe~·· de ndently, despite the significant amount ofmentoring
and guidance he had provide er          to the detriment of time he needed to devote to the M2
lab). Emails from thi      p · d cument Dr. Vengalattore's frustration and professional
constructive criticis and M              corresponding defensive reaction. For example, on
August 24, 2012, Ms            rote to Dr. Vengalattore and complained:

         Look I am feeling a little overwhelmed and like [sic] I am not sure how to proceed.

         Your recent feedback to me was that getting 5% of many things done is not very
         productive and I agree. Also, you pointed out that also because there are several
         things that I tend to juggle at once, when I get stuck on one, I tend to bounce on the




5
  Testimony adduced by Dr. Vengalattore's students include Scott Flanz (App. A at 146),
Shannon Harvey (App. A at 160), Dr. Sundar (App. A at 78), and Mr. Patil (App. A at 8) and a
report by Ms. Pamela Strausser professionally assessing Dr. Vengalattore's group (App. Bat
507-514), all confirm this inference.


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         the [sic] other one without sticking to one and really solving the challenges that
         have arisen.

         Okay, so right now I am feeling stress about juggling these 3 things:

         Ml: At some point you need to step back and go help the other experiments. I am
         completely unprepared for this.



         I am beginning to feel like I can do nothing right, once I start working on or doing
         one thing, I feel guilty about not working on the other. It also seems that I am
         bouncing around too much. I really need your advise [sic] on how to manage my
         time on all the fronts, in addition to preparing myself for actua~y accomplishing
         something on my A exam and not embarrassing myself or you.

App. B at 68. 6 The frustration documented in the email     above~os~.      e similar

                                                        (baselessl!i~
complaints Ms.            lodged in 2009 when she observed a        u        aduate students
in the lab were self-sufficient and productive, and                     1 a 'failure' of Dr.
Vengalattore that she was unable to demonstrate the sa~~~rowess or maturity.
(App. Bat 552). These communications reveal a patte . d- ctice on Ms.
part of inappropriately blaming our client for her s E s ,     en in reality, Dr.
Vengalattore's various research and teaching~ e             left him with little time to work
with Ms.           on a one-on-one basis. In i       e   1se, however, the Report does not
appear to identify, analyze, or draw re~b~       infe ces from this pattern.

        Unable to make significant p         t!s..~l, in the summer of2012, Ms.               asked
Dr. Vengalattore if she could wor ri         il n M2. Dr. Vengalattore granted this request and
assigned Ms.           and M~r s s ificant responsibility in running M2. By the fall of
2012, however, it was clear t t ·               and Mr. Reynolds were not making sufficient
progress in their wor        a     It r. Vengalattore stated that the two should work with Mr.
Sundar in completin       2.    , e mtely thereafter, in a meeting with Dr. Lawrence Gibbons (the
Director of Graduate      dies r Cornell's Physics Department) on October 25,2012, Ms.
         informed Dr.          attore that she intended to leave his lab. Dr. Vengalattore was
gracious when learning of her departure. Indeed, despite Ms.                struggles and
inefficiency, our client provided a letter to Dr. Gibbons that credited Ms.             efforts, and
expressed his hope that Ms.            might have an opportunity to be first author on two papers
coming out of the lab. The letter stated:

         To summarize the discussion, we need to ensure that              receives appropriate
         scientific credit for her contributions to our research group. Since my arrival at
         Cornell in early 2009,           has taken the lead role in the construction of a novel
         BEC apparatus intended for studies of correlated ultracold matter. Much of this

6
 Dr. Sundar's (App. A at 80) and Mr. Reynolds' (App. A at 166-67) testimonies further
document Ms.             inability to accept criticism. It appears that even the most gently-
couched critique invariably evoked a strong emotional response from Ms.
                                                    8

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         effort has been dedicated to the development of the ultrahigh vacuum chamber,
         the laser system and associated instrumentation associated with the apparatus.
         Since early 2012, we have been in a position to pursue a couple of interesting
         research projects--- (i) The realization of an "all-optical Bose condensate" and (ii)
         Non-destructive fluorescence imaging of ultracold bosons in an optical lattice. Of
         these, the first project is very close to completion, and        will be the first
         author of the published result. The second project is at an earlier stage, but I
         acknowledge that             took the preliminary steps towards realizing this
         imaging technique.

         Once we reproduce the experiment with the Bose-condensed atom, this will be a
         landmark achievement. At this point, I am not sure of the remaining obstacles in
         this project. If these turn out to be negligible,    will once again be the first
         author ofthe published work.                                 '

In addition, to assist Ms.            career prospects, Dr. Vengalatt!/t:.r to work
with her in drafting a master's thesis explaining Ms.          's~~ o      cting the lab

                                                              ~
apparatus. Generally, this work is not reflected by authorsh            d papers, but a
well written thesis on the subject is nevertheless highly va        the atomic physics
commumty.

        At this time, from Dr. Vengalattore's             .           departure from the lab
was amicable, and no evidence suggests he ha           o surmise otherwise. After she left the
lab, Ms.          wished Dr. Vengalattor•a h py · day and the two exchanged texts about
their Thanksgiving plans. (App. Bat~~~           as no indication of the false and defamatory
allegations to come from Ms.           ck~'

         In late November 2012,           ~   learned that Dr. Vengalattore's group had created a
superfluid, a major breakthro~;;;ary to conduct future experiments on M1. App. B at 59.
Upon learning ofthe b        h ugh, s.            stated that she was excited because Dr.
Vengalattore's group, ad ee           ·ng towards that goal for years (App. A at 24), and requested
permission to rejoin . Yen lattore's group. In fact, she transmitted multiple emails to Dr.
Vengalattore requesti          e discuss her potential return with his scientific collaborators,
Keith Schwab and Sunil Bhave. App. B. at 59-60. However, given her previous, material
difficulties in running experiments and refusal to dedicate more time and effort to his lab, Dr.
Vengalattore decided not to rehire Ms.

        In January 2013, Ms.        joined the lab of Dr. Ian Spielman at the National Institute
of Standards and Technology ("NIST") in Maryland. This lab conducts studies in cold atomic
physics. According to the Report, Ms.         expects to receive her degree from Cornell in the
spring or summer of2016. (App. A at 15).

                 MS.                      FALSE, CONTRADICTORY ALLEGATIONS

        Despite outward appearances of an amicable split with Dr. V engalattore' s lab, Ms.
        was resentful. On April 15, 2013, she spoke with Swati Singh, a post-doctorate fellow at
the Harvard-Smithsonian Center for Astrophysics, who had previously collaborated with Dr.

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Vengalattore. Ms.             boasted to Dr. Singh, "lfi have my way, [Dr. Vengalattore] will have
a hard time getting tenure." App. Bat 461. Later, at a conference on June 2013 in which Dr.
Vengalattore gave a presentation, Ms.             appeared angry, and she and her colleagues
walked out of our client's presentation. Throughout 2013, Ms.              made multiple attempts
to assist in drafting the papers that were in progress in Dr. Vengalattore's lab, but was told that
the experiments were still ongoing and that the papers would not be in the 'draft' stage until the
experiments were concluded. App. Bat 419.

         On February 2, 2014, Ms.            approached Dr. Ritchie Patterson and "mostly
described tensions in the working group." App. A at 74. She cryptically stated that Dr.
Vengalattore did certain things in the lab that she did not want other women to experience. App.
A at 74. However, Dr. Patterson "came away from the conversation thinking that maybe [Dr.
Vengalattore] had asked [Ms.             out several times and had not taken no for an answer
easily." App. A at 74.                                                  "-.

        This resentment grew after Ms.           was not made first!llthe two papers
referenced in Dr. Vengalattore's letter to Dr. Gibbons, quoted.bo .        at the Report
acknowledges as an "exaggeration" on her part, Ms.            c~c4       y claimed that Dr.
Vengalattore promised her first authorship on two papers. R ~ ~6. Unfortunately, as
sometimes happens in scientific research, the first paper~c n the email to Dr. Gibbons
was never published, not out of any spite to Ms.            t b ause another lab achieved
similar results before Dr. Vengalattore. SeeS. Stel~~ Phys. Rev. A 87, 013611
(Published Jan. 14, 2013; submitted on prep~in         V    2012).

         With respect to the second stu~'~Ve lattore's email states, Ms.                        was
only promised first authorship ifrema·                  s proved negligible. In fact, there was
significant additional work to be d~n s ond study, and it was only published a year-and-
a-half after Ms.           left Dr. V. ga or slab. Indeed, Ms.                  ultimately conceded
that Dr. Vengalattore conceps e e periment, Mr. Patel and Dr. Vengalattore performed
the experiments, data anal si · and e mulations, and Ms.                   along with others, only
contributed to the de~ p e                 apparatus necessary to conduct the experiment. (App. Bat
423). Nevertheless, s.               irrationally believed that she was entitled to be first author on
the second study and         ba essly angry when her claimed entitlement did not come to
fruition. After Ms.             earned that she would not be first author, in an effort to make it
appear that Dr. Vengalattore had stolen her work, Ms.               falsely told her friends that "she
[had] wrote most of the article." (App. A. at 128). Therefore, it is an established fact that Ms.
         had no qualms about making baseless, potentially career-ending allegations against Dr.
Vengalattore, and had an observable pattern and practice of doing so. As such all such claims
should be given little weight by the Division, and invite immediate skepticism regarding her later
claims.

        In April2014, Ms.          received a draft of the study listing her as second author. In
response, on April 18, 2014, Ms.           questioned the study's scientific integrity. App. Bat
383. In what objectively presents as a fit of pique, on April21, 2014, Ms.            demanded
that her name be removed from the paper altogether. App. Bat 380. Yet the next day, without
further comment, Ms.          stated: "The most recent draft of the paper I've seen looks great


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and I am comfortable being an author on it." App. Bat 379. Despite the fact that the paper was
still being revised, Ms.       advised Dr. Vengalattore not to contact her again. App. A. at 21.

        On May 10, 2014, after Ms.           learned that she would not be first author on any
study coming out of Dr. Vengalattore's lab, Ms.           wrote a defamatory tenure review letter
of Dr. Vengalattore. Among other allegations, she falsely stated that Dr. Vengalattore
"constantly degrades graduate students in a harassing and humiliating way," and further claimed
"[a]s a research supervisor and informal teacher, I have found Dr. Vengalattore to be abusive to
the detriment of his students' wellbeing and careers." Ms.             tenure review letter also
alleged that Dr. Vengalattore promised to make Ms.            first author on two papers, but
(supposedly) failed to follow through. In addition, Ms.             tenure review letter stated that
Dr. Vengalattore got so frustrated with Ms.          at one point that he picked up a power
supply- "a metal box weighing five pounds- and threw it at [her]." App. Bat 438-441.

        The allegations in the tenure review letter are demonstrably fa~d contradicted by Ms.
           prior statements. Her comments are also contradicted byg:a ajority of the group
(more than 18 former and current students) who have submitte'l 'g              stimonials' about Dr.
Vengalattore's group- a fact acknowledged by Dean Ritter.~                  tlraft Report, however,
does not appear to acknowledge or address that critical incon ~n~ That absence is surprising
to us, because, with respect to abusive treatment of stud~s,    c     egations could easily be
disproved by talking with other students of Dr. Vengala e.         sent1y, however, it is not clear
that the Division conducted a comprehensive cross~: r example, an independent climate
study commissioned by the physics departme~·         ~er 2014 found:
         Lab cohort is a cohesive team:           r      du         can turn to graduate students or to
         the PI for help, both on an indi     a                  nd in the larger group setting. The

         is often present in the lab ·n e eek and always in the lab during weekends
         students feel they hav~ ces and feel that they are truly working together.

App. B at 511. The s     tu~indicated that our client's students were highly
engaged, even euph c at th accomplishments. These comments bear no resemblance
to Ms.          defa tory aims, and, importantly, flow from multiple sources. Given
that Ms.          chara   zations are wildly divergent from the other students'
comments, we would expect the Report to account for this material variance.

        Moreover, the statements in Ms.               tenure review letter are directly contradicted
by Ms.              September 30,2011 review of Dr. Vengalattore, quoted above. With respect to
the alleged "promise" to make Ms.             first author on two papers, as discussed above, that
allegation is contradicted by an email contemporaneous with the alleged promise. As for the
allegation of thrown piece of equipment, Ms.             told a far less dramatic version of the story
to Dr. Schwab after she left Dr. Vengalattore's lab. In that conversation, Ms.             stated that
a piece of equipment was "slid towards her, not thrown in a dangerous way." App. A at 158.
Critically, and its other falsehoods and distortions aside, Ms.             tenure review letter
neither refers to or suggests any romantic or sexual relationship with Dr. Vengalattore (let alone
rape).


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         In July 2014, after learning of Ms.             tenure review letter's false allegations, Dr.
Vengalattore removed Ms.                name from the second study, given obvious and correct
concerns regarding her professional integrity. App. B at 481. But, after Ms.
complained, in an effort to avoid even the appearance that he was retaliating against her for her
letter, Dr. Vengalattore placed her name back on the paper as third author. App. Bat 423. Based
on advice from senior faculty who shared our client's concerns about Ms.                   integrity, Dr.
Vengalattore advised the editor of the journal at issue (Physical Review) to include a statement
that transparently delineated the individual contributions on this paper and make it extremely
clear that she had no role in the data acquisition, its analysis or the writing of the paper. Each of
these statements - all of which are essential components of academic integrity and transparency
-can be corroborated by detailed lab records. Mr. Sundar was moved to second author because
of the significant work that he did between April2014 and August 2014, when the paper went
through four revisions.

                                                                                ·m tenure, an
                                                                                  ter the department
                                                                                 cock to tell her that




        As detailed h
sexual relationship.
her poor performance         ................




7
  In November 2014, Ms.             made the strange allegation that Dr. Vengalattore omitted her
middle initial from her name in the second publication because he believed               " had a
sexual connotation while "                " did not have sexual connotation. Report at 4. Dr.
Vengalattore has previously directed the Division's attention to ample evidence (App. Bat 505-
06) establishing that this accusation is yet another frivolous, bad-faith complaint by Ms.
but the Report does not clearly reflect that fact.



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            RESPONSE TO REPORT'S ANALYSIS OF EVIDENCE

I.          MEDICAL RECORDS & ALLEGED DECEMBER 30, 2010 SEXUAL
            ENCOUNTER

            Contrary to the Report's conclusions (pp 35-61), Ms.             medical records provide
     no support that Ms.         had a sexual relationship with Dr. Vengalattore on December 30,
     2010. On January 27, 2011, Respondent's medical records show that she went to Gannett Health
     Services ("Gannett") to take a pregnancy test ("Pregnancy Test Record") (App. Bat 5). The
     Pregnancy Test Record indicated that she had sex on December 30, 2010, that she took a home
     pregnancy test on January 20, 2011 that was positive, and that she took a home pregnancy test on
     January 27, 2011 that was negative.

             The Report's conclusion that the Pregnancy Test Record "tend to support the
     Complainant's allegation of a sexual relationship" lacks credible suppo Although the
     Pregnancy Test Record states Ms.             had "heterosexual genitarli since last normal
     period (Dec. 30)" it does not state that Ms.         had sex wi4jh D          ttore or identify the
     person whom Ms.            has sex with. Thus, the Pregnan~R~              , on its face, provides
     no support of a romantic relationship with Dr. Vengalattore.      j.p-~ggests that Ms.
     was sexually active on or around December 30,2010. ~ forth below, the evidence
     shows that she was in a relationship with her high scho.~u~td during this time period.

         As set forth below, the Report's      attemfl~pregnancy     test to an alleged sexual
 encounter with Dr. Vengalattore appears tore            nadequate investigation, a misreading
 of the evidentiary record and unsuppo~~·      enc    Moreover, the Division has not received
 an account of any detail about the timi      e    ged sexual encounter from Ms.
 making it impossible for Dr. Veng~l     or r te the allegation with objective evidence.

        First, that Ms.          <: Ve galattore were in Ithaca for at least part of December
 30, 2010 (Report at 36) does t s      Ms.          contention that she had sex with Dr.
 Vengalattore on that     . A e t' e, both Ms.        and Dr. Vengalattore lived in Ithaca.
 The mere fact that th were       m town on December 30, 2011 is not unusual (and indeed
 expected) and does n uppo the existence of a sexual relationship.

         Second, no objective credible evidence suggests that Ms.            and Dr. Vengalattore
 were together on December 30, 2010. Indeed, the only objective evidence supports the inference
 that the two met on December 31, 2010, when Ms.               dropped off her cat before leaving for
 New York. (App. A at 60). On December 31,2010 at 8:46a.m., Ms.                    sent an email to
 Dr. Vengalattore giving detailed instructions on who to contact if Ms.              cat fell ill. The
 December 31, 2010 email does not support Ms.                 contention that the two were together
 on December 30, 2010 -let alone had sex on that date- and does not reference any romantic
 relationship. The December 31, 2010 email lends credibility to Dr. Vengalattore' s contention
 that his interaction with Ms.          during this time period was related to extending her the
 favor of caring for her cat during her absence, not romance. Consequently, the Report's
 conclusion that the December 31, 2010 email "tends to support the Complainant's allegation of a
 sexual relationship with the Respondent" is unexplained and unsupported. (Report at 34).



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        Third, the Report mistakenly discounts the possibility that Ms.         had sex with her
former high school boyfriend on or around December 30, 2010. The Report states: "According
to Complainant's testimony, she was pursuing her high school boyfriend at that time." (Report
at 36. See a?so App. A at 11). Indeed, in mid-December, Ms.             planned to tell her high
school boyfriend that she loved him. (App. A at 11 ). Although Ms.            later represented
that her high school boyfriend ultimately "shot her down" in the winter of2010/2011, it appears
Ms.             relationship with that boyfriend was ongoing in December 2011. Indeed, Ms.
         asserts that she was seeing her former high school boyfriend on weekends. (App. A at
11). We understand that Dr. Vengalattore has repeatedly requested that the Division locate and
interview this individual. However the Report does not indicate that the Division has done so (or
why it has been unable to do so). Given the obvious significance of these facts to Ms.
accusations, and the Report's narrative, this absence raises important questions regarding the
investigation process we believe the Division must address.

        The Report assumes, without support, that Ms.             and he~h       school boyfriend
were not in the same place on or around December 30,2010. (Rep~~~The Report states,

                                                              ea~~~1
without citation to the evidentiary record, that Ms.                            yfriend was not in
Ithaca on December 30,2010. However, critically, it                          cord that Ms.
high school boyfriend sometimes visited her in Ithaca. In      ~~'Eliza            Buher-Kapit states
that the "Complainant had a friend from high school vis· n         e as supposed to cook him
dinner, but that [Dr. Vengalattore] made her stay a t l1 t nti 1 pm." (App. Bat 116).
Moreover, even if Ms.              high school~boyfi · n      s ot in Ithaca on December 30, 2010,
Ms.           was traveling on or around Dece             2 0 from her hometown to Ithaca.
Report at 24. Although an ATM deposit~pp rs ·n 1cate that Ms.                      was in Ithaca at
some point on December 30,2010 (A~ 5                     is plausible that she returned to Ithaca
after visiting her high school boyfrien      o . ound December 30, 2010. Therefore, the fact
that Ms.           was in an admit~e      ti · hi with her high school boyfriend weighs heavily
against the inference that she too     re    ncy test after a sexual encounter with Dr.
Vengalattore. l!nfortunately,o             does not adequately address this critical, far stronger,
common-sense mferen

         Fourth, Ms.              ext dated December 31, 2010 to her friend Shannon Harvey- an
undergraduate who w          d·     r. Vengalattore's lab from January 2010 to August 2010 8 - is not
probative of whether Ms.               had a sexual relationship with Dr. Vengalattore. The text
states: "I have a whole new hoard of interesting and complex problems ... Feel a little like Lady
Brett Ashley." (App. Bat 556). As an initial matter, this statement is grossly ambiguous and it
is not clear that she is referring to an ongoing romantic or sexual relationship, let alone an
untenable romantic or sexual situation. Therefore, the Report's conclusion that the December
31, 2010 text "supports the inference that, at the time, Ms.            was in an untenable romantic
sexual situation" appears, regrettably, to be premised purely on unsupportable speculation.

        Moreover, Ms.              December 31,2010 text did not reference Dr. Vengalattore.
Only Ms.              statement in an email to the Division on June 15,2015 (App. Bat 565),
nearly five years later, connects this literary reference to an alleged relationship with Dr.
Vengalattore. But by 2015, as discussed herein, Ms.               was engaged in an active campaign

8
    App. A at 166.

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to falsely tarnish Dr. Vengalattore's reputation. As such, the June 15, 2015 email, viewed in its
proper context, should have, minimally, been reflected in the Report as a years-after-the-fact
communication that was regarded with deep skepticism.

        Additionally, Ms.             recent contention that she was alluding to a relationship with
Dr. Vengalattore directly contradicts her own statement that she was actively hiding the
relationship. In the December 31, 2010 text, Ms.             promised to "send a better email
soon," presumably to discuss in detail the topics alluded to in the December 31, 2010 text.
Indeed, one would expect a follow up email given that Ms.              admits Ms. Harvey did not
have "any context to understand [her] statement." (App. Bat 565). To the extent that the
Division granted any weight to Ms.              text message, such reliance is, respectfully, flawed
given that the Report neither states nor suggests that the Division in fact asked Ms. Harvey
whether Ms.           further explained, either in writing or orally, what her "interesting and
complex problems" were or sought relevant emails from Ms. Harvey. ~l'l~~(ntext, timing, and
circumstances of the text messages warranted greater scrutiny and inv~~n.

       In any case, Ms.             statements to Ms. Harvey   ~rra~-no               weight as Ms.
Harvey knew Ms.             to make false statements about ~,                 allife. Ms.
Harvey states that she "got a certain vibe that things with [M .             ere not on the level"
(App. A at 162) and that she had to filter Ms              k's~n out Ms.                     life

my perception." (App. A at 163). Tellingly, Ms.
caused Ms.           to make an unsubstantiate
                                                   !I)
because such statements were ''usually one-sided in her

                                                    l
                                                               or a didn't always match up with
                                                                  s that this tendency to fabricate
                                                          10 hat an undergraduate in Dr.
Vengalattore's lab rifled through her bel~ngi s.           . at 161). Just as with Dr.
Vengalattore, the undergraduate was" ·n~· "                 s.           allegations. (App. A. at
161). But, in yet another troubling om orr, e important statements about Ms.
personality (which were evident to        o        s) are not addressed or accounted for in the

Brett Ashley, a woman who i s · charms the men that she meets and is involved in a web
of romantic relationshi     it 1 ely  t e comparison does not truthfully characterize Ms.
            relationshi o t e       · er life. If anything, it reveals Ms.       willingness to
engage in fictional d ortion That hypothesis is supported by the fact that despite Ms.
            contention     sh iscussed "romantic relationships" with Ms. Harvey (App. Bat
565), it is Ms. Harvey's opmion that a romantic relationship between Dr. Vengalattore and Ms.
          "was clearly not happening." (App. A at 163).

        Fifth, the fact that "others were not aware of another man in [Ms.             life in Ithaca
on December 30, 2010" (Report at 36) does not make Ms.                 testimony that she slept with
Dr. Vengalattore "more plausible." As discussed above, Ms.              could have had sex with
her high school boy friend in or out of Ithaca, she could have had a one-time sexual encounter
with someone not otherwise in her life, or she could have had a relationship the interviewees
were not aware of. These are all plausible situations, all of which are "more likely" than the
charges that Ms.            has leveled against Dr. Vengalattore. Nevertheless, the Report (as
currently drafted) has decided to credit Ms.            allegations.

      Sixth, Ms.          claim that she disclosed that she may be pregnant to Dr.
Vengalattore on the Number 10 bus on the way to her appointment at Gannett, a ride that lasts

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      four minutes, is not plausible. (Report at 36). At the time of the January 27, 2011 appointment,
      both Ms.           and Dr. Vengalattore regularly took the Number 10 bus to work. It defies
      common sense that Ms.             would wait until seven days after first receiving a positive result
      on her initial pregnancy test (and hours after she had a negative pregnancy test) to disclose that
      Dr. Vengalattore may have impregnated her. Moreover, it is odd that Ms.               would choose
      to disclose to Dr. Vengalattore that he may be the father of her baby in a public place given that
      she claims that she was carrying on a clandestine relationship.

              Also, in her testimony, in addition to disclosing the existence of the pregnancy to Dr.
      Vengalattore, Ms.            also claims that she discussed her philosophy on abortion and that she
      would have the baby if she were pregnant. (App. A at 26-27). It is implausible that Dr.
      V engalattore would choose a four minute ride on a crowded bus to have this conversation.
      Indeed, it far more plausible that Ms.             a women who wanted a career in physics and
      feared that she was pregnant, asked her advisor his thoughts on a gra&e        student having a baby.
      (App. A at 67). Nor is this supported creative speculation. The record · ws that Ms.
      asked questions about religious and social issues out of the blue o n g : sions. See App. B
      at 31 (questions Islam and Christianity) and 373 (questions D~~ t                 on being foster

                                                       question~so
                                                              n'ft..~
      parent). When Dr. Vengalattore pointed out this prior patte        t      · · on, Ms.
      apparently responded that she had posed these                           because "[they] were in a
      sexual/romantic relationship." App. Bat 659. Howeve          L.             false explanation
      disregards the fact that the latter text message was   f)ei    ly 12,     er  the end of the alleged
      relationship. Therefore, contrary to the Repo Dr             1 ore's rendition of the discussion is
      far more plausible than Ms.               version.

              Seventh, the Pregnancy Test R ~~ n upport Ms.                        testimony that
      "condoms tended to fall off of Respon t         n lling out" as the Report states. (Report at
      37). The Pre nanc Test Record do          o    e nee Dr. Yen alattore at all. Yet the Report
      inexplicably discounts the possibi · tli      .         fabricated her testimony about condoms
      slipping during sex with Dr. "           re (App. A at 27) to match what was said in the
      Pregnancy Test Report.               V
              Eighth, it is fair to . V engalattore for the Report to draw any inference from the
      Pregnancy Test Repo       itha conducting a reasonable investigation. Notably, the Report does
      not indicate ifthe Divisw conducted any analysis of Ms.              texts and emails from
      January 20, 2011 to January 28, 2011 to determine who she may have talked to about the
      positive pregnancy result. Given that such analysis would be critical to corroborating Ms.
                 version of events, we must surmise that either no such analysis occurred, or the
      Division could not locate any such emails. Either results materially undermines the Report's
      current conclusions.

II.            COMMUNICATIONS WITH RACHEL MATHIS

             The Report places undue weight and draws unsupported inferences from the testimony of
      Rachel Mathis, a good friend of Ms.           Ms. Mathis first met Ms.         when they were
      freshmen in college and the two were in a sorority together. (App A at 122). Between the
      beginnings of2011 to the end of2012, Ms. Mathis claims that she spoke to Ms.           about
      Dr. Vengalattore and Ms.         stated that she was "involved" with Dr. Vengalattore.

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       Critically, Ms. Mathis did not testify that Ms.     had told her that she had sex with Dr.
       Vengalattore. Rather, Ms. Mathis stated numerous times that she could not remember the details
       of their conversation. Appendix A at 122-23 states:

                •    Rachel said that when they talked The Complainant would recount experiences and
                     interactions with the Respondent, but that Rachel cannot recall the details now
                     because it has been so long.

                •    Rachel was having trouble remembering specific information that the Complainant
                     had provided because it had been so long.

                •    Rachel apologized that she was not able to remember more because the conversations
                     when the Complainant and Respondent were involved happened so long ago.

               Despite her general lack of memory, Ms. Mathis testified that       ~id   not think Ms.
                used the "term[] boyfriend" when describing Dr. Vengalt/£a . A. at 123). Ms.
       Mathis also states that she ''was pretty sure that [Ms.           ck~~ e         lattore] did not
       actually go out on dates." Ms. Mathis' failure to recall any ~·o              h Ms.            about a
       sexual relationship with Dr. Vengalattore and her gener~l                 ory about her discussions
       with Ms.           give her testimony limited value, cert · y       r ng to the level of satisfying a
       preponderance-of-the-evidence standard, either stan~) ne in combination with other
       record evidence. Indeed, the "secret" involve ent              . athis refers to could just as easily
       refer to a close non-sexual relationship that Ms.              ped or thought, irrationally, would
       tum romantic. Therefore, Ms. Mathis' t~ti ny             s not corroborate Ms.             contention
       that she was in a sexual relationship Wi                 ttore. We also directthe Division's
       attention to the fact that Ms.         c             s. Mathis in 2015 (App. A at 122), and
       informed Ms. Mathis of her (false)              s regarding Ms.             alleged relationship.
       This contact, minimally, warrants alu         g whether Ms. Mathis has (even subconsciously)
       fashioned her testimony tore                        hearsay statements to her. The Report as
       currently drafted d o e e par to xplore or consider this possibility.

III.            COMMUNI               TIO       WITH

               The testimony o                       ("             Ms.             sister, also fails to make a
       sexual relationship between Ms.             and Dr. Vengalattore more plausible under the
       applicable standards. Although              testifies that that Ms.          first told            that she
       was sleeping with Dr. Vengalattore in the fall of2011, there is no objective corresponding
       evidence in the form of email or texts suggesting that such a conversation took place.
       states that Ms.           was looking ill and "acting weird" in the fall of 2011. (App. A at 105).
                 testified that Ms.         would "grab the skin between her thumb and forefinger and
       was rocking." (App. A at 14). Indeed, Ms.                  father asked if she was taking drugs.
       (App. A at 105). It is surprising that            did not text or email Ms.             about the alleged
       relationship given the physical and emotional state ofher sister in the fall of2011. Therefore,
       the lack of objective evidence relating to Ms.               alleged disclosure to her sister weighs
       against              credibility.



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             Additionally, it was clear that          perceived that Ms.         was experiencing
      emotional difficulties.          attributed Ms.           problems to studying at Cornell, and
      suggested that Ms.          leave Cornell. (App. A at 104). It is plausible that Ms.
      could have embellished her relationship with Dr. Vengalattore to help explain her emotional
      condition and problems at Cornell.

              The Report's present conclusion that "there is a reasonable inference that the physical
      condition [of Ms.           was the result of anxiety around her secret relationship with [Dr.
      Vengalattore ]" is unwarranted. The evidence instead establishes that, prior to her alleged
      relationship with Dr. Vengalattore, she suffered similar physical and emotional problems. For
      example, in an October 21, 2009 email from Ms.              to Dr. Vengalattore, Ms.           stated
      that she was suffering from headaches and was in need of therapy. (App. Bat 603). Minimally,
      a more detailed analysis of Ms.            medical records is necessary before the Division could
      plausibly link her headaches and other medical problems to an allege elationship with Dr.
      Vengalattore. Indeed, the Report's inference that Ms.              medica oblems arose from
      the alleged sexual relationship with Dr. V engalattore unfortunatelym be premised upon
      pure speculation; speculation that conflicts with all evidence ut~co  r       this investigation.
      The speculative inference is not even supported by               \t~ · ny, who stated that
      Ms.          wanted the relationship and wanted to marr~~       ~ ttore. (App. A at 104).

          Finally, while there is objective evidence (in the      o ext messages) that Ms.
  did inform her sister of a sexual relationship in Jul~ App. B at 12), by this time, as
  discussed above, Ms.            was having dif~t r g independently in Dr. Vengalattore's
  lab. It was clear that both she and Dr. V~ga o             frustrated with her performance. It is
  more likely than not that at this time, ~            i ented the existence of a sexual relationship
  with her supervisor to explain her poor      £    a e in the lab to her sister. The Report does not
  explain why this inference- whic~·-       ea s portable given context and objective evidence-
  is not more plausible than a concl . on . t rests on hearsay statements that do not bear any
  hallmarks for truthfulness. ~~

IV.            VOLUME          O~~AGES
              The Report's       lysis fthe call and text volume between Dr. Vengalattore and Ms.
               do not establisli      ggest the existence of a romantic relationship. The Report
      presently concludes that increased call and text volumes between the two from February 2011 to
      January 2012 make "[Ms.                 allegations more plausible." (Report at 39). Respectfully,
      the Division appears to have materially misinterpreted that data. Instead, the increased call
      volumes correspond to increased lab work and Ms.                 contraction of mononucleosis in or
      around June of 2011, which required more information about the lab to be relayed to her
      remotely. (App. Bat 212). Increased call and text volume do not correspond to the beginning of
      the alleged relationship in December 2010. (App. Bat 212). Call volumes between February
      and April 2011 are roughly the same as call volumes after the alleged relationship ended in
      December 2011.

              To the extent that there are late night calls and texts, such calls and texts occur both
      before and after the alleged sexual relationship. (App. Bat 212). Critically, it is plain that an
      overwhelming majority of the calls/texts, especially communications initiated after 6- 7:00PM,

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     and on weekends, were originated by Ms.                She would frequently ask to be updated about
     progress in the lab after she left. Late night calls about lab work are unsurprising, given that it is
     undisputed and corroborated by numerous witnesses that Dr. Vengalattore kept long hours in the
     lab, frequently staying until 2am or pulling "all-nighters."

             Additionally, and fatally, Ms.         destroyed her texts to and from Dr. Vengalattore in
     2013 (App. A at 14), at around the time that she threatened to make it difficult for Dr.
     Vengalattore to get tenure. (App. Bat 461). Consequently, rather than analyze the volume of
     text messages, the Division should infer that such texts likely contradict Ms.
     allegations of a romantic or sexual relationship. If the texts in fact supported her allegations, it is
     logical to conclude that Ms.           would not have attempted to destroy them, particularly
     considering the timing of the spoliation. Thus, we respectfully submit that the Report should not
     draw any inference from the volume of calls and texts between Ms.               and Dr.
     Vengalattore. Minimally, we believe it would be appropriate for the s r t       to draw an adverse
     inference against Ms.           especially given that: (1) she destroyed r Yant text messages at a
     time when she knew a dispute with Dr. Vengalattore was likely; an~ ·ation results in
     considerable prejudice to Dr. Vengalattore, given its clear rele~,~isputed facts.

V.            EMAILS AND TEXTS BETWEEN MS.                            C~R. VENGALATTORE
             The Report's finding that emails and texts     betw            and Dr. Vengalattore
     "lend credibility to [Ms.           allegations" is~~~: A.               has alleged that she
     was raped and in an abusive sexual relationsh1 ~ . A 31 ("The Complainant said that she
     knows that she was sexually abused."). The          a   ext messages show a string of
     communications from Ms.            to . e        la e that the Report characterizes as not

     he supervises." (Report at 45). Yet    ie    f e Report indicates that the Division did not find
     one communication from Dr. Ven att         t Ms.           suggesting that he coerced her or
     abused her. Indeed, Dr. V e n e id ot even mention or allude to a sexual relationship
     with Ms.             Moreover her      ot a shred of evidence in Ms.            communications
     while she was workiG.               attore's lab that document or suggest any trauma or abuse
     of any kind ex peri en d at h ·ob. Instead, the emails show that Ms.           was not telling the
     truth about the nature    er ationship with Dr. Vengalattore.

              Because Ms.               inappropriately familiar emails (which our client certainly did not
     solicit from her) both pre-date and post-date the alleged relationship, they support Dr.
     Vengalattore's testimony that he and Ms.                were friendly throughout her time at the lab.
     For example, on September 16, 2010, prior to the start of the alleged relationship in December
     2010, Ms.              attempted to sign Dr. Vengalattore up for speed dating. (App. B at 29).
     According to the Report, on November 16, 2010, Ms.                  stated, "I have a crazy suggestion,
     instead of doing analysis ... you could do this thing, I know you do it very seldom so you might
     find it a little strange ... but you could sleep ... crazy, I know." (Report at 41). It is undisputed
     that these and other emails cited by the Report dated prior to December 2010 are not indicative
     of an ongoing romantic relationship.

            Other emails cited by the Report post-date the alleged sexual relationship. For example,
     on October 12, 2012, Ms.         invites Dr. Vengalattore over for pizza. (App. Bat 50).

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While the Report faults Dr. Vengalattore for not responding in writing to correct Ms.
conduct (Report at 40-41 ), the texts and emails in fact reference communications where Dr.
Vengalattore did express concern over Ms.                inappropriate conduct. On April 18,2012,
Ms.           stated in a text: "Just talked to my mom. Probably should have done that a few
hours ago. Don't worry about me. Sorry for frustrating you." On June 15,2012, Ms.
states: "I am sorry. I won't bother you again." (App. Bat 373). Moreover, review of the Report
does not indicate that the Division asked students in Dr. Vengalattore's group ofhis response to
Ms.            Had they done so, the Division would have learned of Dr. Vengalattore's careful
attempts to remedy Ms.                inappropriate behavior.

        In addition, Dr. Vengalattore often, appropriately, exercised great caution in dealing with
Ms.          at times where she seemed to be experiencing high anxiety. For example, in
February 2011, Ms.              roommate attempted to commit suicide. Ms.               complained
about her own mental health because she was caring for her roommat wenty-four hours a day,
five days in a row. App. Bat 595. During this time period, Dr. Vengal         re was at a
conference, but nevertheless allowed Ms.           to leave her cats~ e because Ms.
         was afraid that her roommate would harm them. Whi~ t             o' renee, Ms.
sent Dr. Vengalattore an uncharacteristically emotional              ema9~::1
                                                                            'I really appreciate you
and can't wait to show you how I feel." (App. Bat 205).           ;:~chastising Ms.
about the tone of this email, Dr. Vengalattore suggested at ·          e her cats with Mr. Sundar,
rather than at his house. Thus, Dr. Vengalattore felt         ine o rebuke Ms.             when she

"no good deed goes unpunished."

       Where Ms.           used famil'        +       e        s · emails such as "darling" and "babe" (App.
B at 205), Dr. Vengalattore did not asc           s        1    ant meaning to those greetings, as she

Ms.            would call him "hon    or   r mg." (App. A at 81). Mr. Sundar stated that "he
took it just as her style o f s p e a    . undar further stated "that [Dr. Vengalattore] took it in
the same way." Mr. Pat als test1 e that the Respondent would call Mr. Sundar "honey" or
"darling." (App. A a        . TH      .          lab mates simply believed that Ms.           had
an overly familiar w ofspe ing. Dr. Vengalattore's focus was on completing his work on a
timely-basis (a job hi • ed      Ms.          struggles and inefficiencies), and thus,
unsurprisingly, he did no evote his limited free time to educating Ms.             a graduate
student - on proper email communication etiquette.

        Notably, the record indicates that Ms.          would use overly familiar language when
she was forwarding subpar work product to Dr. Vengalattore, strongly suggesting she hoped to
substitute charm for professionalism. For example, the March 11, 2011 email from Ms.
to Dr. Vengalattore attached with the greeting "good morning sunshine" attached a draft of a
poster. (App. Bat 174). The January 9, 2012 email, in which Ms.               states that "the work
product is rough like Dr. Vengalattore' s face," attaches a poorly written rough draft of an
abstract. (App. B at 199). Dr. Vengalattore did not take these overly familiar emails as romantic
overtures, but instead regarded them as Ms.             childish strategy to deflect attention from
poor work product. Indeed, Mr. Patil apparently shares Dr. Vengalattore's perspective; Mr. Patil
stated that he believed Ms.            inappropriate behavior was a defense mechanism. App. A
at 85.

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             Correspondingly, Dr. Gretchen Campbell, who knows Ms.                  because she is a
      colleague oflan Spielman (Ms.           new advisor), believes Ms.               makes
      inappropriate comments purely for shock value:

              Prof. Campbell said that she has witnessed the Complainant making inappropriate
              statements for a professional workplace. Prof. Campbell said that it has been so
              long that she cannot remember any details of statements that the Complainant has
              made. With respect to whether the statements were inappropriate because they
              were sexual or because they were too casual, Prof. Campbell said a little bit of
              both and that she thought that the Complainant was trying to be shocking.

      App. A at 176. As is the case with other record evidence, these are important testimonies
      attesting to Ms.           general character, and are vital to contextualizing her comments, and
      assessing her credibility. However, they are not properly addressed i~ Report.

              In sum, the emails cited by the Report do not support Ms.   Art£  legations of abuse
      or make allegations of a romantic relationship more credible. ~he · · e reveal conduct by an
      immature graduate student failing to respect her supervisor'~ti         supervisor's patience
      with the same (patience for which, today, he unfairly faces d iP~uences).

VI.           ALLEGED FIRST SEXUAL              ENCOUNTER~
               The Report concludes that "no date de ' t i O..:...ches [Ms.            account of her
      first sexual encounter," which allegedly occ       ~~ovember 29, 2010 and December
      17,2010. (App. Bat 558). Ms.                ~~·tha e can remember very few details about the
      alleged sexual assault. Ms.          ha: ·v 1       sistent statements as to why her recollection
      is vague. On the one hand, she cl~a·    o        le to remember any of the details of sex that
      night "because sex was a typical c p n fthe later sexual and romantic relationship."
      (App. A at 11 ). On the otherG a ocate, Liz Karns, claims that Ms.                    cannot
      remember specific details of e e 1 because she was the victim of a traumatic sexual
      assault. (App. Bat 5 .            c , once it became clear that the few details that Ms.
      does "remember" ar ot co borated by the objective evidence, Ms.                refused to answer
      further questions abo he fi sexual encounter. (App. B at 582). Yet the Report mistakenly
      draws no adverse infere       om that fact.

               Ms.          claims that Dr. Vengalattore was not in the lab on the alleged day of the first
      sexual encounter, so she went to his house uninvited to check up on him. Ms.             had
      previously told friends that Dr. Vengalattore had been missing from the lab for several days, a
      claim she apparently backtracked from because it was not supported by the objective evidence.
      (App. A at 74). Ms.            thereafter accuses Dr. Vengalattore of raping her that evening. Ms.
               claims that she and Dr. Vengalattore were at the lab alone the next day. This accusation
      is clearly refuted by uncontested lab records showing that Dr. Sundar was actually the first in the
      lab on December 16th and that Dr. Vengalattore also was present in lab that day. App. Bat 765.
      Notably, there is no evidence that Ms.           was in the lab on December 16th. Faced with this
      further evidence of her fabrications, Ms.          provides no plausible explanation for her
      "memory" that she was alone in lab with Dr. Vengalattore on the 16th and that "she does not
      remember anyone else in lab that day."

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                After analyzing lab records, emails, text messages and cell phone records, the Report
       concludes that December 15, 2010 is "most reasonably consistent" with Ms.                  timeline
       (Report at 50), but that the Division could not conclude that December 15,2010 "was more
       likely than not the date of the alleged first sexual encounter." (Report at 50. However, the
       Division could easily have gathered sufficient information (such as lab records and other
       objective evidence (App. B at 764-65, App. B at 628) and reviewed them with current and
       former students to evaluate if the lab records for December 15, 2010 and December 16, 2010 are
       inconsistent with circumstances surrounding the alleged rape, and instead confirm Dr.
       Vengalattore's account that he was in his lab the day of the alleged rape. Specifically, Ms.
                   clams that (1) Dr. Vengalattore predated a note in the lab book is contrary to lab policy
       and (2) others could have performed the experiments that he was undertaking is an easily
       refutable factual impossibility. However, in its present form, the Report does not appear to have
       probed and addressed these critical items. The Report includes Ms.               rape allegations in
       its narrative, but only cites University Policy 6.4's time-bar as a proce&:al  for not further
       pursuing this line of inquiry. However, because her accusations are de        strably false for the
       reasons explained above, and because these fabrications undermi                       overall
       credibility, the fact that the Report does not analyze and addret;~ c
       substantively undercutting her grave accusations remains pr~~                prejudicial, regardless
       of the fact that such claims are also time-barred.        A.~


VII.           GIFTS                                         ~·' v
                In 2009 and 2010, Dr. Vengalattore's I w         m and close-knit. Dr. Vengalattore
       exchanged small gifts with his students. j'or a         e, r. Vengalattore purchased a coffee mug
       for Mr. Sundar, who also remembers~                  g· one Christmas. App. A at 81. Mr. Sundar
       stated that he gave a book to Mr. Veng . o a gift one year. App. A at 81. Dr. Vengalattore
       gave a tea set to Ms.           a gift • i      t ith the gifts Dr. Vengalattore gave to Mr. Sundar
       and not indicative or a romantic r tion · . App. A at 53. Dr. Vengalattore also purchased a
       cat tree in December 2011 ( a a do the alleged relationship) when he was cat-sitting so
       that Ms.            cats     ul ott r phis furniture. Attached hereto as Exhibit Cis a copy of
       the purchase order fo     e cat        espite the fact that the cat tree was purchased after the end
                                    9
       of the alleged relatio, hip.     s.         falsely told her friends that Dr. Vengalattore had
       purchased it as a Vale · e' ay (2012) gift for her cat- yet more evidence that Ms.
       grossly exaggerated her re ationship with Dr. Vengalattore to her friends. Dr. Vengalattore did
       not purchase an iPad or earrings for Ms.            and does not recall purchasing a heart rate
       monitor for her. App. A at 53. In short, Dr. Vengalattore treated Ms.              similarly to other
       students and his purchase of token gifts for Ms.            does not reflect a romantic relationship.

              The Report mischaracterizes Dr. Vengalattore's testimony with respect to the purchase of
       an iPad. The Report erroneously contends that in an initial interview, Dr. Vengalattore denied
       buying an iPad. In reality, Dr. Vengalattore testified that "he did not buy The Complainant the
       iPad." App. A at 53.


       9
         The Report at 51 erroneously indicates that the cat tree was purchased prior to Valentine's Day
       in 2011. We understand that Dr. Vengalattore has previously, explicitly advised Division
       investigators of the correct date he purchased the cat tree.
                                                        22

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                   In a second interview, when presented with the receipt for the iPad, Dr. Vengalattore
        confirmed that he did not purchase the iPad as a gift for Ms.           but sought the iPad for his
        lab. App. A at 62. Contrary to the Report's present conclusion, Dr. Vengalattore's testimony in
        the first and second interview is entirely consistent. The Division, again without any
        substantiation, apparently did not find it credible that Dr. Vengalattore would purchase an iPad
        with his own credit card for his lab and not seek reimbursement. But Dr. Vengalattore explained
        that he often purchased things for his lab without seeking reimbursement, and that is consistent
        with his pattern-and-practice. Attached hereto as Exhibit Bare personal credit card transactions
        reflecting $15,000 oflab equipment purchased on Dr. Vengalattore's personal credit card. Thus,
        Dr. Vengalattore's testimony that he purchased the iPad for his lab is not only credible, but is
        strongly supported by documented evidence- evidence that the Division failed to obtain.

               In short, Dr. Vengalattore treated Ms.           similarly to his other students, and his
        purchase of token gifts for Ms.         is not reflective of a romantic ~ionship.

VIII.           OBSERVATIONS OF THE COMPLAINANT AND                       ~~T TOGETHER
                The Division failed to fmd a single person who    witn~.~alattore           and Ms.
                 that believed, in 2011, the two were romantical~y· o ~~ile theoretically possible,
        it would take unfailing discipline to hide a romantic rei  n · 1 lab environment where Dr.
        Vengalattore was working 12 to 18 hour days in c l l lr s "mit to several undergraduate and
        graduate students (see Strausser Report). TheBp,           e r, fails to properly infer that the
        lack of witnesses strongly suggests that no sue    1 n p existed.

                In stating that testimony of per +          i ssed Dr. Vengalattore and Ms.
        interact "cut[s] both ways," the Report    ~~         cherry-pick" certain statements of witnesses
        without putting them in context. W         ~~dar testified that Ms.               called Dr.
        Vengalattore "honey" and "babe,'       no     a ove, Mr. Sundar further testified she called Mr.
        Sundar those nicknames as w a              at 81. The notes of Mr. Sundar's testimony state,
        "Vatsan said that he to · j t as r style of speaking. Vatsan thought that Respondent took it
        in the same way. Va n said            ey did not interpret in a more personal way." App. A at 82.
        In addition, Mr. Patil lso sta that he witnessed Ms.              call Mr. Sundar "darling."
        Again, confronted wit           ce pointing to her falsehoods, Ms.           has resorted to highly
        implausible narratives inc uding one that "she reserved darling and babe for men she was
        involved in a relationship, but that honey etc. were not." Report at 45.

                 These are important facts, but as currently composed, the Report selectively and
        inappropriately picks isolated sentences, which, unfortunately, cast our client in a false light of
        inappropriate behavior. Furthermore, in its current form, because the Report as currently
        composed does not address critical, blatant incongruities in Ms.              account (e.g. that this
        secret relationship was a traumatic event in her life, to the point that she would throw up after
        personal attacks in the lab juxtaposed with the few unprofessional, friendly and overly familiar
        emails that the Report finds supportive of her allegations) it results in a confused picture wherein
        Ms.           was simultaneously traumatized and overtly familiar and inappropriately friendly
        with Dr. Vengalattore. Despite repeated attempts by Dr. Vengalattore to point out this
        incongruity, the Division has, unsurprisingly, not identified a single first-hand witness who can
        attest to having observed either of these diametrically opposed scenarios. Given the close knit

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      nature of the lab, the team work inherent to each project and the long hours that are spent with
      multiple individuals in each lab, this absence of any first hand testimony that can corroborate
      either of her polar narratives should be considered damning to her credibility. Unfortunately, the
      Report in its present form does not reflect that reality.

               By way of example, certain witnesses refer to Ms.             conduct at the Biosphere in
      Arizona. For example, Mr. Reynolds testified that he witnessed Ms.             "laying across" Dr.
      Vengalattore on the overnight flight to the Biosphere in 2012. App. A at 166. Again, it is
      undisputed that there was no romantic relationship between Ms.            and Dr. Vengalattore at
      this time. Moreover, Mr. Reynolds testified that he did not witness anything "overly
      inappropriate" between Ms.            and Dr. Vengalattore and attributed Ms.            way of
      speaking "to her being a first time grad student." App. A at 166. See also App. A at 159 (Keith
      Schwab's testimony that 'neither the Complainant nor the Respondent ever gave any indication
      that there was something sexual or off-color about their relationship. ~Schwab instead said
      that he always had the impression that the Respondent is a real professio    and that he treats his
      students like professionals.)                                       ~

               Moreover the Report notes that Kasturi Saha, a   phys~Uomell                and a very
      close friend of Ms.          who was in Dr. Vengalattore's         ~~iefpetiod time, asked Ms.
                whether she had a crush on Dr. Vengalattore.      o .       . However, Ms. Saha stated
      that she never saw anything indicating a romantic r~· ip a d the two were just spending a
      lot of time together. App. A at 177. That the "two       . s nding a lot of time together" is
      umemarkable given the pace of work at the la~t             !:lible inference of a romantic or sexual
      relationship can be drawn from that. In£1fed, r.       galattore was spending long hours in the
      lab with Mr. Patil (App. A at 86) and~                p. A at 78).

            Thus, contrary to the Repeoc ion, testimony of persons who witnessed Ms.
             and Dr. Vengalattore tog  r, s   gly indicate that there was no romantic relationship
      between them. The only c r e a · nee that can be drawn is that, for whatever reason. Mr.
             behaved exces · y sua with her supervisor and fellow students, and now seeks to
      manipulate their hav· g indul   ch eccentricities into devastating, false accusations.

IX.

             In assessing Ms.            credibility, the Division must take into account multiple
      inconsistencies and false statements in her testimony.

              First, Ms.         has made wholly unsupported allegations of rape and a coercive
      relationship. The evidence shows the opposite. Ms.           made a string of overly familiar
      emails to Dr. Vengalattore to which he either did not respond or responded verbally telling Ms.
               to act more professionally.

              Second, Ms.           has fabricated a claim that Dr. Vengalattore "sidelined" her after she
      ended the alleged relationship. In fact, the Report found: "This claim was not substantiated by
      the other graduate students in the lab or the lab log and is not given any weight in this
      investigation." Report at 52.


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        Third, Ms.          claims that Dr. Vengalattore was abusive to his graduate students,
including Mr. Sundar. The Climate Study, referenced above, and Mr. Sundar's own testimony
contradict this statement. (App. A at 78).

       Fourth, Ms.          claims that she and Dr. Vengalattore had sex in the Biosphere in
Arizona. This is one of three sexual experiences Ms.            has alleged. However, the two
went to the Biosphere in 2012, after the alleged sexual relationship ended. Because of these false
statements and inconsistencies, Ms.            testimony that there was a sexual relationship
should not be credited.

         Ms.         had a strong motive to fabricate an abusive relationship in September 2014.
She had recently made false statements about Dr. Vengalattore in the tenure review letter, feared
retaliation from Dr. Vengalattore (App. A at 113), and learned that Dr. Vengalattore's
department just voted to give him tenure. Ms.             knew that a bas:commendation or no
recommendation from Dr. Vengalattore would make it difficult for her t btain her Ph.D (App.
A at 75) and that the various fabrications in her letter had significa!lf ed her credibility
within the Physics department. Therefore, at the time th      M           1    alleged a sexual
assault, she had a motive to publicly make defamatory state       t         r. Vengalattore. She
needed a way to neutralize and distract from any negativ~o e ation from Dr.
Vengalattore.

         The investigation credits testimony th Ms                  isclosed a relationship to Ms.
Mathis and her sister            in 2011. Altho                      might not have possessed a
motive to harm Dr. Vengalattore's reputofion t tl:i ime, that does not mean she had no motive
to lie about her relationship. From h e ! t               mails and alleged statements to            it
appears that she liked Dr. Vengalattore fL..~ed to have a relationship with him. (App. A at
25). Perhaps these witnesses con~s.

                                   B
                                                           later statements about a sexual relationship
with earlier conversations where                  described a non-sexual "involvement" with Dr.
Vengalattore. Perhaps Ms.                    about sex in 2011 to make it appear that Dr.
Vengalattore reciproca        e eeli s or make her life seem more interesting than it was. In any
case, and regardless Ms.                 subjective motives at that time, the Report errs in assuming
Ms.           had no     tive to ie simply because, in 2011, she did not seek to sabotage Dr.
Vengalattore's profess            utation. 10




10
   Please note, as noted, above, although our comments and recommendations set forth herein
address whether the Report's analyses and conclusions satisfy a preponderance-of-the-evidence
standard, we do not concede that such standard necessarily satisfies requisite due process
standards, either facially or on an "as applied" basis. In providing the within comments and
observations, please note that they have been presented without waiver of any and all rights,
remedies, defenses, causes of action or claims possessed by Dr. Vengalattore against any party,
including without limitation Ms.            or Cornell University (including without limitation any
division, department, office, officer, director, trustee, employee, or agent of Cornell).


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                                              CONCLUSION

        For more than a year now, our client's reputation and integrity has been attacked,
premised on the demonstrably false and incredible accusations of Ms.            that likely result
from her unseemly motive to destroy Dr. Vengalattore's career to somehow make up for her own
professional struggles and challenges. Although, given the severity of the accusations, it is
perhaps understandable that the Division has been called upon to conduct an investigation. At
present, the basis and reasoning underscoring the Report's conclusions clearly fail to satisfy even
the liberal preponderance-of-the-evidence standard governing this process.

     Thus, for the forgoing reasons, we believe that the Report should find that there is not a basis
to conclude that the preponderance of credible evidence supports the existence of a romantic or
sexual relationship between Dr. Vengalattore and Ms.               There is no basis to continue
subjecting ~ur client to this time-consuming and emotionally draining~cess. We trust that, as
objective investigators committed to fairness and due process, you will . fully consider this
letter, and we expect that the Report's analyses and conclusions w r l £ · . dified. As noted
above, we request that the Division provide us a copy of anY. r~·         a    eport before it is
transmitted to the Dean, and further request that the      Divisio*~o-      et with us after review
of this letter.                                              .....

                                                     d~~o
                                                                 v .




                                                ~ ~~tO"
   Thank you for your consideration, and please                       contact us with any
questwns.                             +




                            ~
                                                                            Respectfully Submitted,

                                                                FLEISCHMAN LAW FIRM PLLC




                          vo                                            By: Is/ Keith M. Fleischman

                                                                              Keith M. Fleischman
                                                                                 Joshua 0. Glatter
                                                                              Ananda N. Chaudhuri
                                                                                     Julia Sandler




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Gmail- FW: DARPA meeting held May 4-6, 2012                                                                                                              8120115, 8:21PM

Documentation regarding trip to Biosphere in May 2012 with LMA, Collin Reynolds

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 FW: DARPA meeting held May 4-6, 2012

 Linda S. Hatch <lsh32@cornell.edu>                                                                                                Fri, May 4, 2012 at 8:15AM
 To: Mukund Vengalattore <mukundv@cornell.edu>


    Hi Mukund,



    Can you please complete a web req for this payment? I can enter the dollar figures when I receive them from Val.



    Thanks,

                                                                                                        ·~
    Linda




    5/4/12 _____________
                                                                 ~
                                         ---------~----------.-"e ~-----~-- - - . . . . . . _
                                                                                            ._ _. _. .
    From: Val Kelly        [mailto:vkelly@email.arizona.e~O
    Sent: Thursday, May 03, 2012 10:48 PM
                                                      ~
                                                   11rt...'
    To: Linda S. Hatch                    ~
    Subject: DARPA meeting held May 4-6, 20~ ,.


    Hi Linda,
                                             vo
    Let me briefly introduce myself. I am Val Kelly, the event coordinator for the DARPA meeting beginning tomorrow at
    The University of Arizona Biosphere 2. Dr. Mukund Vengalattore informed me to get in touch with you to work out the
    invoice I payment information.



    Please provide me with

    1.        name of organization funding the event?

    2.        paying organization I federally or state funded?

    3.        is event funded by multiple parties or funding sources?

    4. If so, how much money will be covered by each account? (dollar amount, or a percentage of total event, or a 'not
    to exceed' amount?


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Gmail - FW: DARPA meeting held May 4-6, 2012                                                                                                      8120115, 8:21PM


    5.    Contact person name I address I email I phone number/ fax to send the invoice to

    6.    what payment method?



    Attached you will find the estimated cost for the DARPA meeting Dr. Vengalattore,                                              , and Collin Reynolds
    are attending.



    Let me know if you have any questions.



    Best,

    Val




    Val Kelly
    Program Coordinator Sr.

    Conference and Group Sale

    The University of Arizona Biosphere 2

    32540 S. Biosphere Road

    (520) 838.6154 (Office)

    (520) 838.6162 (Fax)

    vkelly@email.arizona.edu

    http://www. b2science.org




 Linda S. Hatch <lsh32@cornell.edu>                                                                                        Wed, May 9, 2012 at 2:12PM
 To: Mukund Vengalattore <mukundv@cornell.edu>


    Hi Mukund,



    Can you please provide a business purpose and account number for the DARPA meeting you attended? I have the
    invoice for the accommodations and meals.



    Thanks,



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Gmail - FW: DARPA meeting held May 4-6, 2012                                                                                                        8120115, 8:21PM




    Linda

    5/9/12

    [Quoted text hidden]



 Mukund Vengalattore <mukundv@cornell.edu>                                                                                  Wed, May 9, 2012 at 2:27 PM
 To: "Linda S. Hatch" <lsh32@cornell.edu>

    Hi Linda,
    Sorry about the slow response on that .. The account number is
    U76-8544 and the business purpose is "DARPA team meeting at U. of
    Arizona, Tucson." The attendees from our group were myself,
            and Collin Reynolds.

    Let me know if you need me to fill out a webreq.

    Thanks,
    Mukund
    [Quoted text hidden]



    Mukund Vengalattore
    Assistant Professor of Physics
    536 Clark Hall
    Cornell University
    Ithaca, NY 14853

    (607) 255 8178
    mukundv@cornell.edu




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PayPal Website Payment Details- PayPal                                                                                                    8/20/15, 8:33PM

                                     Documentation showing various lab equipment purchased
•        PayPal                      using personal funds. (Bank account xxx-0833 and Credit
     •   Summary
                                     Card xxx-71 09). I did not seek reimbursement for any of
     •   Activity                    these purchases.
     •   Send & Request
     •   Wallet
     •   Shop

     • Settings
     • Help
     • Log Out


             Transaction Details


             eBay Payment Sent (Unique Transaction ID #16E882042B4075247)

              Original Transaction
                       Date                                  Type                                                            Amount
               Apr20,2010                Payment To Chi Hung Ma                                                               -$54.95 USD



              Related Transaction
                       Date                                  Type                                        Details             Amount

               Apr 20, 2010              Add Funds from a Bank Account                                                         $54.95 USD




                                                                                                   $10.99 USD                 $54.95 USD,


                                                                          Shipping & Handling via Standard Delivery
                                                                                 (includes any seller handling fees):
                                                                                                Shipping Insurance :


                                                                                                               Total:          $54.95 USD



                        Shipping Address: Mukund Vengalattore
                                          LASSP, 517 Clark Hall
                                          Cornell University
                                          Ithaca, NY 14853
                                          United States

https: 1/www.paypal.com/ us/cg i-bin/webscr?cmd = _view-a-trans&id = 16E882042B407524 7                                                         Page 1 of 2

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PayPal Website Payment Details - PayPal                                                                                              8/20/15, 8:33 PM


                                                Confirmed    6


                                 Payment To: Chi Hung Ma          (The recipient of this payment is Non-U.S. -Verified)
                                   Seller's ID: apmmall.engineering
                               Seller's Email: hksunnyma@gmail.com



                               Funding Type: Instant Transfer
                           Funding Source: $54.95 USD - Bank of America (All except WA and ID) Checking (Confirmed) x-
                                                0833
               Back Up Funding Source: Visa Credit Card XXXX-XXXX-XXXX-7109



                                 Description: Chi Hung Ma




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•       PayPal
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    •   Activity
    •   Send & Request
    •   Wallet
    •   Shop

    • Settings
    • !:J.gjQ
    • Log Out

                              Transaction Details


                              eBay Payment Sent (Unique Transaction ID #1 NP05659XP1707035)

                               Original Transaction
                                      Date         I                  Type                       I Status         I       Details   I   Amount
                                Feb 20, 2010       IPayment To Tara B Loder                      I Completed      1 ...             I   -$368.00 USD



                               Related Transaction
                                      Date                             Type                                                              mount
                                Feb 20, 2010        Add Funds from a Bank Account


                                               Total amount: -$368.00 USD
                                                Fee amount: $0.00 USD
                                                Net amount: -$368.00 USD
                                                      Date: Feb 20, 2010
                                                       Time: 14:39:02 PST




                                                                                                               $350.00 USD


                                                                                       hipping & Handling via USPS Priority Mail         $18.00 USD
                                                                                              (includes any seller handling fees):
                                                                                                            Shipping Insurance :




                                                              Confirmed   r£i


                                                Payment To: Tara B Loder        (The recipient of this payment is Verified)
                                                  Seller's ID: industrialconnections
                                               Seller's Email: industrialconnections@yahoo.com



                                               Funding Type: Instant Transfer
                                        Funding Source: $368.00 USD- Bank of America (All except WA and ID) Checking (Confirmed) x-
                                                        0833
                                Back Up Funding Source: Visa Credit Card XXXX-XXXX-XXXX-7109



                                                 Description: Tara B Loder



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PayPal Website Payment Details - PayPal                                                                                                              8/20/15, 8:34PM




•        PayPal
     •   Summary
     •   Activity
     •   Send & Request
     •   Wallet
     •   Shop

     • Settings
     • Help
     • Log Out


             Transaction Details


             eBay Payment Sent (Unique Transaction ID #96591890PJ6959103)

               Original Transaction
                        Date                                    Type                                                                    Amount
               Mar 11,2010                Payment To Hui Liu                                                                           -$134.87 USD



               Related Transaction
                        Date                                    Type                                                Details             Amount
               Mar 11,2010                Add Funds from a Bank Account                                                                 $134.87 USD

             ~····················································   .. ·······•···· .....
                                Total amount: -$134.87 U S D &                     ~
                                  Fee amount: $0.00          US~D. . _ '
                                  Net amount: -$134.87
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             .........
              :Item #
                                            Time:19:0

                                          ~c:;...~
                                     Item Title
                                                                     . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ..
                                                                                                   Qty            Price                      Subtotal

              1370348242152 Solid State Relay SSR 5- 220V DC, 40A +                                            $9.99 USD                  $9 .99 USD
                            Heat Sink
              !370348277257          Solid State Relay SSR 5- 220V DC, 40A +                         1         $9 .99 USD                 $9 .99 USD
                                     Heat Sink
              ,250595161928 Solid State Relay SSR 5- 220V DC. 40A +                                  1         $9 .99 USD                  $9 .99 USD
                            Heat Sink

              1250595225471          Solid State Relay SSR 5- 220V DC. 40A +                                   $9 .99 USD                  $9 .99 USD
                                     Heat Sink
              ,250587703633 Solid State Relay SSR 5-220V DC, 40A +                                   5        $ 14 .99 USD               $74 _95 USD
              i             Heat Sink


                                                                                                                          Subtotal:     $114.91 USD
                                                                                                            Shipping & Handling           $19.96 USD
                                                                                              (includes any seller handling fees):


https://www.paypal.com/us/cgi-bin/webscr?cmd= _view-a-trans&id=96591890PJ6959103                                                                           Page 1 of 2

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PayPal Website Payment Details - PayPal                                                                                                          8/20/15, 8:34PM


                                                                                                        Shipping Insurance :


                                                                                                                         Total:     $134.87 USD


                         Shipping Address: Mukund Vengalattore
                                           LASSP, 517 Clark Hall
                                           Cornell University
                                           Ithaca, NY 14853
                                           United States
                                           Confirmed           61

                                 Payment To: Hui Liu         (The recipient of this payment is Non-U.S. -Verified)
                                   Seller's ID: giorgio11185
                              Seller's Email: njlasz@gmail.com

             ""   .. .... ... ~~~~:~~ ·;~~~·;. ;~~;~·~;.~;~~~~; .... .....
                   ""     "                                             "       "   .. " .. .. " ....... " .. " .... ~· ... ""." .. " "." .. " " ... .
                                                                                          "




                          Funding Source: ~~;j·B7 USD ·Bank of America (Al excet<~hecking (Confirmed)                                           X·




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             to the eBay Resolution Center. PayPal and e v~~ r
             with the seller whenever possible.                   ~'
                                                                                          mmend that you attempt to resolve issues directly




     •   Help                               0~                                                                                ( Return to Log ]


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               Cornell Rom. and Sex. Rei. Pol. Rpt. (WPLR)                  44 of63                                          Confidential - Personal
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PayPal Website Payment Details - PayPal                                                                                                        8/20/15, 8:36PM




•         PayPal
      •   Summary
      •   Activity
      •   Send & Request
      •   Wallet
      •   Shop

      •   Settings
      •   Help
      •   Log Out


              Transaction Details


             eBay Payment Sent (Unique Transaction ID #092015554S482224J)

                  Original Transaction

                         Date                                   Type                                                              Amount

                  Feb 10, 2010            Payment To K&S Publishing                                                               -$111.50 USD



                  Related Transaction
                         Date                                   Type                                                              Amount

                  Feb 10,2010             Add Funds from a Bank Account                                                            $111.50 USD



              Business Contact Information




                                  Fee amo
                                  Net amo
                                        Date:
                                            Time: 17:42:31 PST
                                          Status: Completed



              : Item #               Item Title                                               Qty            Price                     Subtotal
              ,                DC/DC POWER SUPPLY MODULE 5 TO 12
                  390091479549                                                                  9         $9.95 USD                $89.55 USD
                               VDC SOLA ELECTRIC

              '390091479549                                                                               $9.95 USD                 $9.95 usD'



                                                                                                                     Subtotal:      $99.50 USD
                                                                                                       Shipping & Handling          $24.00 USD
                                                                                         (includes any seller handling fees):


https: I /www.paypal.com /us/ cgi-bin /webscr?cmd= _view-a-trans&id =0920 15 5 545482 224J                                                           Page 1 of 2

                  Cornell Rom. and Sex. Rei. Pol. Rpt. (WPLR)                  45 of63                                     Confidential - Personal
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PayPal Website Payment Details- PayPal                                                                                                       8/20/15, 8:36PM


                                                                                                     Shipping Insurance :
                                                                                      Seller Discounts(-) or Charges(+):        -$12.00 USD
                                                                                          (seller discounts, services, etc.)


                                                                                                                     Total:     $111.50 USD


                         Shipping Address: Mukund Vengalattore
                                           LASSP, 517 Clark Hall
                                           Cornell University
                                           Ithaca, NY 14853
                                           United States
                                           Confirmed           fdl

                                    Payment To: K&S Publishing        (The recipient of this payment is Verified)




             -· ................   ~~~-~~~~·~~~~-:..~~;~~~-~~~~~~~~~~~~~-~~~- ..............~............................... .
                                   Funding Type: Instant Transfer                                      :   V


             -....................   ~~~.~~~~~~~~.=. -~~.~.~.~~~-~~-~~~$~::~-~ ....... ~ ~:~.~ ~-9 ~i~~.:.~::.~'.. . . . . . . .......
             Need help? If you have problems with an eBa               ~'n
                                                                or want help settling a dispute with an eBay seller, go
             to the eBay Resolution Center. PayPal           ~·t;/. .
                                                         :$.:y recommend that you attempt to resolve issues directly
             with the seller whenever possible.    ~ ,.




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               Cornell Rom. and Sex. Rei. Pol. Rpt. (WPLR)                  46 of63                                      Confidential - Personal
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PayPal Website Payment Details - PayPal                                                                                              8/20/15, 8:37 PM




•      PayPal
     • Summary
     • Activity
     • Send & Request
     • Wallet
     • Shoo

     • Settings
     • Help
     • Log Out


             Transaction Details


             eBay Payment Sent (Unique Transaction ID #33403626W4258143N)

              Original Transaction
                      Date                              Type                                                            Amount
               Feb 5, 2010           Payment To Katie Baggio                                                           -$419.94 USD



              Related Transaction
                      Date                              Type                                                            Amount
               Feb 5, 2010           Add Funds from a Bank Account                                                      $419.94 USD




              !230430434340                                                                     $399.99 USD


                                                                       Shipping & Handling via Expedited Delivery         $19.95 USD
                                                                               (includes any seller handling fees):
                                                                                              Shipping Insurance :


                                                                                                             Total:     $419.94 USD



                         Shipping Address: Mukund Vengalattore
                                           LASSP, 517 Clark Hall
                                           Cornell University
                                           Ithaca, NY 14853
                                           United States

https:/ /www.paypal.com/us/ cgi-bin/webscr?cmd = _view-a-trans&id=33403626W42 58143 N                                                      Page 1 of 2

               Cornell Rom. and Sex. Rei. Pol. Rpt. (WPLR)               47 of63                                 Confidential - Personal
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PayPal Website Payment Details- PayPal                                                                                                8/20/15, 8:37PM


                                                Confirmed~




                                Payment To: Katie Baggio          (The recipient of this payment is Non-U.S.- Verified)
                                  Seller's ID: surplus*worldwide
                              Seller's Email: reflexologymat@aol.com



                              Funding Type: Instant Transfer
                           Funding Source: $419.94 USD - Bank of America (All except WA and ID) Checking (Confirmed) x-
                                                0833
               Back Up Funding Source: Visa Credit Card XXXX-XXXX-XXXX-7109



                                Description: Katie Baggio




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PayPal Website Payment Details - PayPal                                                                                                     8/20/15, 8:37 PM




•        PayPal
     •   Summary
     •   Activity
     •   Send & Request
     •   Wallet
     •   Shop

     • Settings
     • Help
     • Log Out


              Transaction Details


             eBay Payment Sent (Unique Transaction ID #2UJ27350RC333750C)

               Original Transaction
                       Date                                   Type                                                             Amount
               Jan 28, 2010               Payment To Tim Sanders                                                              -$424.00 USD



               Related Transaction
                       Date                                   Type                                                             Amount
               Jan 28, 2010            Add Funds from a Bank Account                                                           $424.00 USD




                                                                                    Shipping & Handling via UPS Ground           $25.00 USD
                                                                                    Note: UPS cannot ship to P.O. Boxes
                                                                                      (includes any seller handling fees):
                                                                                                     Shipping Insurance :


                                                                                                                   Total:      $424.00 USD


                         Shipping Address: Mukund Vengalattore
                                           LASSP, 517 Clark Hall
                                           Cornell University
                                           Ithaca, NY 14853

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               Cornell Rom. and Sex. Rei. Pol. Rpt. (WPLR)                     49 of 63                                 Confidential - Personal
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PayPal Website Payment Details - PayPal                                                                                                                                                                                                                                                                         8/20/15, 8:37PM


                                                                                               United States
                                                                                               Confirmed 6j



                                                      Payment To: Tim Sanders                                                          (The recipient of this payment is Verified)
                                                          Seller's ID: sandman.2000
                                                Seller's Email: ebay@mho.com



                                                Funding Type: Instant Transfer
                                        Funding Source: $424.00 USD- Bank of America (All except WA and ID) Checking (Confirmed) x-
                                                                                               0833
                 Back Up Funding Source: Visa Credit Card XXXX-XXXX-XXXX-7109
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                                                       Description: Tim Sanders


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             to the eBay Resolution Center. PayPal and eBay strongly recommend                                                                                                                            tJ+J......     ~to                                 resolve issues directly
             with the seller whenever possible.                                                                                                                                                      ~'{J"

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PayPal Website Payment Details - PayPal                                                                                                    8/20/15, 8:39PM




•        PayPal
     •   Summary
     •   Activity
     •   Send & Request
     •   Wallet
     •   Shop

     • Settings
     • Help
     • Log Out


             Transaction Details


             eBay Payment Sent (Unique Transaction ID #10634159DF262561F)

               Original Transaction
                       Date                                Type                                                               Amount

               Jan 22, 2010               Payment To CON Systems, LLC                                                        -$370.88 USD



               Related Transaction ·
                       Date                                Type                                                               Amount

               Jan 22, 2010           Add Funds from a Bank Account                                                           $370.88 USD



             Business Contact Information

                 Customer Service URL: !.!!:>j~~~P~~~"""·c""o~m
                Customer Service Email: ==~::::..:;~=iii~-"'-=.!.!

               Customer Service Phone:


                               Total amo
                                 Fee amou          USD
                                 Net amount: - 370.88 USD
                                       Date: Jan 22, 2010
                                            Time: 17:57:52 PST
                                           Status: Completed



              !Item#                Item Title                                              Qty           Price                    Subtotal•

              ~390142654974                                                                           $350.00 USD            $350.00 USD


                                                                                Shipping & Handling via UPS Ground              $20.88 USD
                                                                                  (includes any seller handling fees):
                                                                                          Shipping Insurance (optional):
                                                                                                             Invoice ID: 10818567


https://www.paypal.com /us/ cgi-bin /webscr?cmd = _view-a-trans&id = 10634159DF262 561F                                                          Page 1 of 2

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PayPal Website Payment Details - PayPal                                                                                                   8/20/15, 8:39PM




                                                                                                                Total:       $370.88 USD


                          Shipping Address: Mukund Vengalattore
                                            LASSP, 517 Clark Hall
                                            Cornell University
                                            Ithaca, NY 14853
                                            United States
                                            Confirmed          iii

                                  Payment To: CDN Systems, LLC             (The recipient of this payment is Verified)
                                   Seller's ID: athomemarket
                               Seller's Email: ebay@cdnsystems.com



                               Funding Type: Instant Transfer                                           '-.
                            Funding Source: $370.88 USD - Bank of America (All except W~"ecking (Confirmed) x-
                                                  0833                                         •    ~v
             •. ..~ c.~.~~ .~.".~~~~·9· ~~~:~~.'..~~~~.~:~i~.~~~ ~~~~~~~~~~·~· . . . . . . . . . . . . . . . . . . . .

             to the eBay Resolution Center. PayPal and eBay str                    c      end that you attempt to resolve issues directly
             with the seller whenever possible.         '~


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PayPal Website Payment Details - PayPal                                                                                                   8/20/15, 8:40PM




•        PayPal
     •   Summary
     •   Activity
     •   Send & Request
     •   Wallet
     •   Shop

     • Settings
     • Help
     • Log Out


             Transaction Details


             eBay Payment Sent (Unique Transaction ID #8N1252599F7202023)

               Original Transaction
                       Date                                  Type                                                            Amount

               Jan 20, 2010               Payment To DUNN DAO                                                               -$485.98 USD



               Related Transaction
                       Date                                  Type                                                            Amount

               Jan 20, 2010               Add Funds from a Bank Account                                                      $485.98 USD




                                                                                                     $449.99 USD


                                                                            Shipping & Handling via USPS Priority Mail         $35.99 USD
                                                                                    (includes any seller handling fees):
                                                                                                  Shipping Insurance :


                                                                                                                 Total:      $485.98 USD


                         Shipping Address: Mukund Vengalattore
                                           LASSP, 517 Clark Hall
                                           Cornell University
                                           Ithaca, NY 14853
                                           United States

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               Cornell Rom. and Sex. Rei. Pol. Rpt. (WPLR)                    53 of 63                                Confidential - Personal
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PayPal Website Payment Details - PayPal                                                                                                 8/20/15, 8:40PM


                                                 Confirmed~




                                 Payment To: DUNN DAO              (The recipient of this payment is Verified)
                                   Seller's ID: 1009thcomputerservice
                               Seller's Email: softbarns@yahoo.com



                               Funding Type: Instant Transfer
                        Funding Source: $485.98 USD - Bank of America (All except WA and ID) Checking (Confirmed) x-
                                        0833
                Back Up Funding Source: Visa Credit Card XXXX-XXXX-XXXX-7109



                                 Description: DUNN DAO




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PayPal Website Payment Details - PayPal                                                                                                  8/20/15, 8:41PM




•        PayPal
     •   Summary
     •   Activity
     •   Send & Request
     •   Wallet
     •   Shop

     • Settings
     • Help
     • Log Out


             Transaction Details


             eBay Payment Sent (Unique Transaction ID #9JH03508WY246291T)


              Original Transaction
                       Date                                 Type                                                            Amount

               Jan 20, 2010           Payment To Marc Loponte                                                              -$516.04 USD



               Related Transaction
                       Date                                 Type                                                            Amount

               Jan 20, 2010           Add Funds from a Bank Account                                                         $516.04 USD




                                                                                                    $495.00 USD


                                                                                 Shipping & Handling via UPS Ground           $21.04 USD
                                                                                 Note: UPS cannot ship to P.O. Boxes
                                                                                   (includes any seller handling fees):
                                                                                                  Shipping Insurance :


                                                                                                                Total:      $516.04 USD


                         Shipping Address: Mukund Vengalattore
                                           LASSP, 517 Clark Hall
                                           Cornell University
                                           Ithaca, NY 14853

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PayPal Website Payment Details - PayPal                                                                                                 8/20/15, 8:41PM


                                                United States
                                                Confirmed     fi

                                 Payment To: Marc Loponte          (The recipient of this payment is Verified)
                                   Seller's ID: acclaimtest
                               Seller's Email: hitechgeek14@gmail.com



                               Funding Type: Instant Transfer
                            Funding Source: $516.04 USD- Bank of America (All except WA and ID) Checking (Confirmed) x-
                                                0833
               Back Up Funding Source: Visa Credit Card XXXX-XXXX-XXXX-7109



                                 Description: Marc Loponte


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             to the eBay Resolution Center. PayPal and eBay strongly recommend
             with the seller whenever possible.                               ~
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                                                                                                             to resolve issues directly




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PayPal Website Payment Details - PayPal                                                                                       8/20/15, 8:46 PM




•        PayPal
     •   Summary
     •   Activity
     •   Send & Request
     •   Wallet
     •   Shop

     • Settings
     • Help
     • Log Out


             Transaction Details


             Express Checkout Payment Sent (Unique Transaction ID #6D3294995N5185921)


               Original Transaction
                       Date                                 Type                                                 Amount
               Feb 22, 2014               Payment To TEKSTAR                                                    -$930.00 USD



               Related Transaction
                       Date                                  Type                                                Amount
               Feb 22, 2014               Add Funds from a Bank Account                                          $930.00 USD



             Shopping Cart Contents



                         Qty                                                        Options                       Price

                                                                                                          $900.00 USD

                                                                                              Amount     $900.00 USD



             Business Contact Information

                 Customer Service Email: tassel78@yahoo.com



                                    Item Total: $900.00 USD
                                    Sales Tax:
                                    Shipping: $30.00 USD
             Seller discount or charges: $0.00 USD



                               Total amount: -$930.00 USD
                                 Fee amount: $0.00 USD
                                 Net amount: -$930.00 USD


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PayPal Website Payment Details - PayPal                                                                                              8/20/15, 8:46PM


                                           Date: Feb 22, 2014
                                           Time: 12:35:47 PST
                                          Status: Completed


                                   Insurance: $0.00 USD
                                          Status: Completed


                         Shipping Address: Mukund Vengalattore
                                           536 Clark Hall
                                           Cornell University
                                           Ithaca, NY 14853
                                           United States
                                           Confirmed          6

                                 Payment To: TEKSTAR                                          V~
                                                               (The recipient of this payment is
                                  Selle(s ID: techstar2003                                  + :~
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                               Funding Type: Instant Transfer                            ~
                       Funding Source: $930.00 USD- Bank of Amer"                        ~'p'TWA and ID) Checking (Confirmed) x-
                                       0833
               Back Up Funding Source: Visa Credit Card XXXX-                               0515




             with the seller whenever       re.
             to the eBay Resolution Center. P a o • y strongly recommend that you attempt to resolve issues directly
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PayPal Website Payment Details - PayPal                                                                                          8/20/15,8:53 PM




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     • Shop

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     •   Help
     •   Log Out


              Transaction Details


             Transaction Completed (Unique Transaction ID #6FB58355K42857044)

               Original Transaction
                       Date                                  Type                                                   Amount

               Sep 22, 2011               Payment To Woot, Inc.                                                    -$394.19 USD



               Related Transaction
                       Date                                  Type                                                   Amount
               Sep 22, 2011               Add Funds from a Bank Account                                             $394.19 USD




                                 Fee amoun .       USD
                                 Net amount: -$394.19 USD


                                Item amount: $394.19 USD
                                    Sales Tax: $0.00 USD
                                     Shipping: $0.00 USD
                                     Handling: $0.00 USD
                                     Quantity: 1



                                    Item Title: HP Pavilion Intel Dual-Core Notebook with 17.3" Brightview LED Display (1)
                                   Invoice ID: 34809944
                                             Date: Sep 22, 2011
                                            Time: 09:51:38 PDT

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PayPal Website Payment Details - PayPal                                                                                                          8/20/15, 8:53PM




                                           Status: Completed



                          Shipping Address: No Address Provided




              Business Contact Information

                   Customer Service URL: htto://www.woot.com
                  Customer Service Email: service@woot.com

                Customer Service Phone: 214-764-2489


                                    Funding Type: Instant Transfer
                        Funding Source: $394.19 USD- Bank of America (All except WA a~D)
                                                                                       Checking (Confirmed) x-
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                Back Up Funding Source' Visa Credit Card XXXX-XXXX-XXXX-051:                           (lj.
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                               EXHIB




Cornell Rom. and Sex. Rei. Pol. Rpt. (WPLR)   61 of 63          Confidential - Personal
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                       Case 3:18-cv-01124-GLS-TWD Document 22-26 Filed 03/21/19 Page 63 of 64
     Gmail -Your Amazon.com order of "Armarkat B5701 57-Inch Cat ... " has shipped!                                                                   8/29/15, 1:42PM




      Your Amazon.com order of "Armarkat 85701 57-Inch Cat. .. " has shipped!
      Amazon.com <ship-confirm@amazon.com>                                                                                     Tue, Dec 20, 2011 at 1:30 PM
      Reply-To: "ship-confirm@amazon .com" <ship-confirm@amazon.com>
      To: "mukundv@cornell.edu" <mukundv@cornell.edu>

                                                                                                   Your Orders       I Your Account I Amazon.com
                                                                                                                  Shipping Confirmation
                                                                                                                         Order# 105-5019298-7513046


              Hello Mukund Vengalattore,                              ·                                            '-..
              Thank you for shopping with us. We thought you'd like to know that we shi~pl ortion of your order
              separately to give you quicker service. You won't be charged any extr¥hi i    s, and the remainder of
              your order will follow as soon as those items become available. If y  ~t~ e rn an item from this shipment
              or manage other orders, ple~se visit Your Orders on Amazon.com.       ..,. '


                  Your estimated delivery date is:                                                   was sent to:
'
I.
II
                  Thursday, December 22, 2011

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                                                                                       E         · engalattore
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                                                                                             ted States

                Your package is being shipped by UPS and        t~~ber
                                                                    is 1ZW220560300381552. Depending on the shipping method
                you chose, it may take 24 hours for you~~b~ to return any information.


              Shipment Details                  r          ~

                                      .         ~kat               85701 57-Inch Cat Tree, Ivory
                                                      Sold by Amazon.com LLC (Amazon.com)
                                                                                                                                       $78.95




                                                                                                            Item Subtotal:               $78.95
                                                                                                   Shipping & Handling:                  $26.55

                                                                                                         Total Before Tax:             $105.50
                                                                                                    Sales Tax Collected:                 $8.44


     https:/ /mail.google.com/mail I u /0 /?ui = 2&ik= 510 1795c32&view=pt&q = ... s=true&search=query&msg = 1345cbda3bd4a810&si ml = 1345cbda3 bd4a810     Page 1 of 2

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                    App. C - Final to Dean 9.25.15                                                                             Distribution Not Permitted
                   Case 3:18-cv-01124-GLS-TWD Document 22-26 Filed 03/21/19 Page 64 of 64
Gmail- Your Amazon.com order of "Armarkat B5701 57-Inch Cat... " has shipped!                                                                            8/29/15, 1:42 PM


                                                                                                     Shi'pment Total:                  $113.94
                                                                                                            Paid by Visa:                $113.94

         You have only been charged for the items sent in this shipment. Per our policy, you only pay for items when we ship them to you.


         Other Items Shipping Soon
         For order# 105-5019298-7513046
         Placed on December 19, 2011

              Delivery Estimate: Saturday, December 24, 2011
              Da Bird Cat Toy - Easy Store - 2 Part Pole




         We hope to see you again soon!
         Amazon.com



         Unless otherwise noted, items are sold by Amazon.com LLC and tax




                                                                                        Act. If any items in this order are subject to that Act, the seller of




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               Cornell Rom. and Sex. Rei. Pol. Rpt. (WPLR)                    63 of63                                             Confidential - Personal              ./         I
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